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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           UNITED STATES OF AMERICA                      )
                                                         )     CRIMINAL INDICTMENT NO.
                 v.                                      )     1:11-cr-136-JEC/AJB
                                                         )
           PAUL BUNCH (#9) and                           )
           IRA BUTLER (#10),                             )
                                                         )
                              Defendants.                )

                           UNITED STATES MAGISTRATE JUDGE’S
                         NON-FINAL REPORT AND RECOMMENDATION

                 Before the Court are the following pretrial motions filed by Paul

           Bunch: (1) motions to suppress the search of 436 Hood Road, [Docs. 146, 196]; (2) a

           motion to suppress the search of 1850 Flat Rock Road, [Doc. 147]; (3) a motion to

           suppress statements, [Doc. 148]; and (4) a supplemental motion to suppress evidence

           and statements, [Doc. 205]. Also before the Court are the following motions filed by

           Ira Butler: (5) a motion to suppress evidence, [Doc. 130]; and (6) a motion to suppress

           evidence from the December 8, 2010, search of 436 Hood Road, [Doc. 2131]. In the

           Court’s earlier R&R, [Doc. 333], the Court concluded that hearings were needed as to


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                        The Court allowed Butler to adopt Bunch’s motion to suppress evidence
           from the search of 436 Hood Road based on the following oral representation: the home
           was owned by Bunch and leased by Butler. See Pretrial Hrg. Recording at FTR Gold
           2:21-2:23, 2:25:12-2:25:25.


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           whether (1) under the Fourth Amendment, law enforcement’s entry onto the curtilage

           of 436 Hood Road was pursuant to a lawful “knock-and-talk” or an impermissible

           warrantless search, [id. at 140 n.44]; (2) Bunch has standing to challenge the search of

           436 Hood Road, and if so, whether law enforcement’s entry onto the curtilage of

           436 Hood Road was lawful, [id. at 140 n.45]; (3) law enforcement had probable cause

           to arrest Bunch without a warrant, [id. at 141 n.46]; (4) the pre-warrant entry into the

           1850 Flat Rock Road residence was lawful, [id. at 141 n.47]; and (5) Bunch’s

           statements were coerced or made in violation of Miranda v. Arizona, 384 U.S. 436

           (1984), [id. at 142 n.55].

                 The Court held an evidentiary hearing, [Docs. 415 (hereinafter “T2:_”)

           and 416    (hereinafter      “T3_”)],   and       thereafter   the   parties   filed   briefs,

           [Docs. 418, 422, 432, 436, 445]. The Court also held oral argument. [Doc. 500].

                 For the following reasons, the undersigned RECOMMENDS that each of the

           motions be DENIED.




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                 Facts2

                        1.    Search of 436 Hood Road, Stockbridge, Georgia

                 In the fall of 2010, Denise Romano was a Henry County Police Department

           narcotics agent involved in the investigation of Defendants and others for growing

           marijuana in various indoor locations in the county. T2:87-89. The investigation began

           on October 27, 2010, when Snapping Shoals EMC notified the Henry County Police

           that an unusual amount of electricity was being used at 925 Hemphill Road in

           Stockbridge, Georgia. T3:39. During the ensuing investigation, marijuana grow

           houses were located at 925 Hemphill Road and at two addresses in McDonough,

           Georgia: 166 Alexander Drive and 1680 Jodeco Road. T2:91.

                 On December 8, 2010, Romano was assisting in the execution of a state search

           warrant at 445 Hood Road, Stockbridge, Georgia, the residence of Joshua and Danielle

           McCullough. T2:89. During that search, police located a quantity of marijuana and

           materials related to marijuana cultivation. T2:90. While searching 445 Hood Road,

           Romano was advised by a fellow police officer that in executing a document search

           warrant at the Backwoods Bar & Grill (Joshua McCullough’s place of business) that



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                        The facts recited herein are the findings of the undersigned Magistrate
           Judge.

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           same date, police located a purchase-and-sale agreement for 436 Hood Road, with

           Joshua McCullough identified as the purchaser. T2:89-90; T3:73; Doc. 205-1 at 8.3

           The 436 Hood Road address was located in the same cul-de-sac as 445 Hood Road.

           T2:92. The cul-de-sac was in a rural neighborhood, with large lot sizes. T2:149. As

           a result of being advised about the purchase-and-sale agreement, Romano and fellow

           Henry County narcotics agent Brian Ponder left 445 Hood Road and walked to

           436 Hood Road to perform a knock-and-talk, that is, “to go to the residence, knock on

           the door to either confirm or deny by talking to the homeowners if there was a

           marijuana grow in the residence due to our prior knowledge of what has been located

           throughout the day.” T2:93, 167. At this point, the agents assumed that the property

           at 436 Hood Road belonged to McCullough. T3:49-50.

                 Romano and Ponder, who were dressed in plain clothes with their badges

           displayed, walked down a lengthy driveway (approximately 200 feet) towards the

           residence at 436 Hood Road. T2:94, 96, 98; T3:66. There was a gate located on the




                 3
                      That document actually was an unexecuted offer by McCullough, dated
           August 23, 2010, to purchase 436 Hood Road, with a proposed closing date of
           September 24, 2010. [Doc. 205-1].

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           driveway, but it was open. T2:94, 124; see also Def’t. Exs. IB3-6.4 It was dark out;

           Romano did not have a flashlight, and Ponder’s flashlight was running out of power,

           so he used it only intermittently. T2:94, 123, 168. At the end of the driveway was a

           house with a bright spotlight on its left side. T2:94, 124; see Def’t Ex. IB9. The agents

           did not see any vehicles. T2:126. Although the property was surrounded by trees, the

           agents saw the spotlight from near the top of the driveway. T2:123, 124-25. The end

           of the driveway was a gravel parking area. T2:130. Since the house was dark with no

           lights on the front porch, the agents proceeded to the door on the left side under the

           spotlight so they could be seen and could see whoever was at the house. T2:95-96, 128,

           150-51. They saw that the window on the door was covered with a black material.

           T2:96.5 Ponder knocked on the door but received no answer. T2:96.6 The agents did

           not smell or hear anything. T2:96.




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                        Defendant exhibits marked IB1 through IB15 photographs taken in the
           spring and summer of 2011, in daylight and after the events in December 2010. T2:112
                 5
                        This material was similar to window covers seen elsewhere during the
           investigation. T2:104.
                 6
                       Ponder testified that it was Romano who knocked on the door. T2 at 168.
           Regardless of which agent knocked on the door, the evidence is undisputed that they
           knocked on the door.

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                 The agents then walked to the front door by way of the front porch, which was

           under an overhang. T2:97, 168. Ponder used what power he had in his flashlight to

           illuminate the ground at his feet. T2:168. As the agents got closer to the front door,

           they smelled a strong smell of raw marijuana. T2:97, 175. Ponder again knocked on

           the door and received no answer. T2:97. However, the agents heard music playing

           very similar to that heard at 925 Hemphill Road marijuana grow house. T2:97-98, 137.

           Ponder looked through the blinds of the front window and saw equipment typically

           used in marijuana growing. T2:171-73.

                 Ponder and Romano still thought someone was in the house, so they went to the

           back of the house by crossing back under the spotlight. T2:98. In the rear of the house

           was a two-story deck leading to a door. T2:98. There were no lights outside (other

           than the side spotlight), but there were lights on inside the house. T2: 137. Up on the

           deck was a glass door with closed blinds that, according to Romano, were angled down

           and opened just enough to where she could see orange buckets and a garbage can near

           the door. T2:98-99, 138, 153; Gov’t Ex. 4 at 177. Agents had located orange buckets

           in the other grow houses in the investigation. T2:99, 138. The trash can had some filler

           in it which appeared to be grow media, similar to that seen at the other marijuana grow

           locations. T2:99, 138; Gov’t Ex. 4 at 200.

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                 Believing they had discovered another marijuana grow house, Ponder and

           Romano proceeded clockwise around the back of the house to the side furthest from the

           driveway light, to make sure that no one was running out of the house or discarding

           anything. T2:100, 143. Romano testified that

                 We felt after going to the front door and smelling the raw marijuana, we
                 had enough [probable cause]. We were doing a security sweep around the
                 house to make sure nobody was running out. Approached the back door,
                 you can see the glass, went back down and cleared the rest of the house.

           T2:139. On the right side of the house, Romano saw that the electric meter was

           spinning at a high rate of speed. T2:100, 145. At this point, the agents retreated back

           to the cul-de-sac. T2:100-01. Since no one answered the doors, they assumed no one

           was in the structure. T2:101.

                 The agents decided to get a search warrant. T2:101. Romano had a police

           vehicle park at the front of the driveway while she got the search warrant. T2:101-02.

                 The issuing magistrate came to the cul-de-sac to review and issued the search

           warrant. T2:115. The magistrate left after signing the warrant. T3:58.

                 The search warrant affidavit sworn out by Romano and executed at 9:54 p.m. on

           December 8, 2010, provided the following allegations to support a search of the

           436 Hood Road address. (See Warrant Aff. in Doc. 243 at Ex. J). During the search



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           of Backwoods Bar and Grill (owned by the McCulloughs), law enforcement located a

           purchase agreement for a residence at 436 Hood Road indicating that McCullough had

           purchased the property for $115,000 in September 2010. Romano, who was then

           searching 445 Hood Road, was told of the discovery of the purchase agreement. At the

           445 Hood Road residence, agents located vacuum-seal bags, a marijuana grinder

           containing marijuana seeds and stems, a glass pipe with marijuana residue and a DVD

           about growing marijuana. Ponder and Romano left 445 Hood Road and went to

           436 Hood Road. A spotlight illuminating part of the driveway and door near the garage

           revealed a black plastic bag covering the glass in an attempt to conceal the garage’s

           contents. Upon approaching the front door of the 436 Hood Road residence, Romano

           and Ponder noticed the overwhelming odor of raw marijuana. At the rear of the

           residence they walked up the stairs to the back door, and visible through the slats of the

           blinds in the back door were numerous five-gallon buckets and a bucket “containing

           the same grow media” located at other grow houses. Romano also noticed that the

           electricity meter was “cycling at a high rate of speed.”

                 In executing the search warrant at 436 Hood Road, police located a marijuana

           grow house with similar construction to those cultivation operations found at

           925 Hemphill Road and 1680 Jodeco Road, as well as supplies that had been found at,

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           but not seized from, 925 Hemphill Road. T2:104-05. It did not appear that anyone

           lived at that address, but rather that it was being utilized solely as a marijuana grow

           house. T2:105-10. The searching agents located a Snapping Shoals EMC bill

           addressed to Ira Butler at 436 Hood Road, and a “Payment Letter to Borrower” in the

           name of Paul Bunch III, addressed to Bunch at 1850 Flat Rock Road. T2:110-11;

           Doc. 205-4 at 2. The document had been signed by Bunch on November 1, 2010, and

           it provided that his first mortgage payment on a loan on the property at 436 Hood Road

           was due on December 1, 2010. [Doc. 205-4 at 2].

                 Law enforcement, believing there was probable cause to arrest Bunch and Butler,

           sent two groups of agents to find and arrest them. T2:111.

                        2.    Paul Bunch’s arrest and the search of 1850 Flat Rock Road,
                              Stockbridge, Georgia

                              a.     Probable cause to arrest Bunch

                 The facts recited in this section are those facts presented at the evidentiary

           hearing while both Bunch and his counsel were present, and are relevant to whether

           probable cause existed to arrest Bunch.

                 On November 3, 2010, execution of search warrants at 925 Hemphill Road and

           166 Alexander Drive revealed marijuana grow houses and firearms, T3:8, T3:25, and



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           as a result, James McKenzie, Holly Autry, and Karry Autry were arrested. T3:9.

           Although the marijuana plants found at the 436 Hood Road grow house on

           December 8, 2010, were relatively young compared to the plants found in the earlier

           grow houses and were not producing buds, the 436 Hood Road grow house was similar

           to   the   earlier   grow     houses    in     that   it   had   the   same    layout,

           plumbing/piping/lighting/HVAC equipment, nutrients, and marijuana plant strains as

           those at the earlier grow houses. T3:9-11, 53. It also contained a log for the care and

           maintenance of the plants, just like was found at other locations. T3:29.

                 The police concluded that persons associated with the grow houses were

           employed by Old South Amusements or JSCJ Manufacturing, owned by Sandra and

           Jimmy Ray Whorton, and Backwoods Bar & Grill, or Preferred Amusements, owned

           by Joshua McCullough. T3:11-13. Paul Bunch served as Old South’s secretary.

           T3:13. Ira Butler was associated with Backwoods Bar & Grill, as were Joseph Tillman

           and Brian Prewitt, who were associated with the other grow houses. T3:14. A

           motorcycle registered to Sandra Whorton (CEO of Old South) was found at the

           166 Alexander Drive grow house. T3:40.

                 The search of 436 Hood Road revealed Paul Bunch to be the most recent owner

           of that house, although police had located an unexecuted purchase agreement for the

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           property in Joshua McCullough’s name when they searched McCullough’s business,

           the Backwoods Bar & Grill. T3:15.

                 In searching and seizing evidence from 925 Hemphill Road, law enforcement left

           several items behind, and these items—including a leather couch, fifty-five-gallon

           containers, propane cylinders with distinctive rust patterns, a pyramid lamp,

           refrigerator, vacuum system, file cabinets, water filtration system, and an electrical

           board with handwriting upon it—were subsequently located during the search of

           436 Hood Road. T3:15-16. In addition, the kitchens at both 925 Hemphill Road and

           436 Hood Road were being used exclusively to store marijuana-grow-house tools and

           supplies as opposed to glasses, plates, and silverware found in typical kitchens. T3:16.

           Music was playing at both locations. T3:17. Neither house appeared to have someone

           living there. T3:17.

                 In addition, during earlier surveillance, agents had observed a box truck at

           1680 Jodeco Road.7 In executing a search warrant at Backwoods Bar & Grill on

           December 8, 2010, the same truck was present at that location, and in searching the

           truck, agents discovered items that were present but not removed by law enforcement

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                        1680 Jodeco Road was owned by Kathleen Dixon, who leased it. T3:46.
           Law enforcement was unaware of any connection Dixon had to any other individual or
           any of the business entities in the case. T3:68-69.

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           during the search of 925 Hemphill Road, including a pool table, lawnmower, equipment

           manuals, entertainment centers, tools, and a hose reel. T3:18.

                 Subsequent to the searches at 166 Alexander Drive and 925 Hemphill Road,

           police received information about another suspected grow house at 1680 Jodeco Road,

           and began surveilling it. T3:20. During surveillance, a white box truck was observed

           there, and it was registered to Preferred Amusements at 445 Hood Road, which was

           Danielle and Josh McCullough’s residence. T3:20-21. Through research, police

           learned of ties between Josh McCullough, the Whortons, and Old South through

           “Cadillacs and Billiard.” T3:21. In surveilling 1680 Jodeco Road, police observed at

           1686 Jodeco Road—right next door—Sandra Whorton and a yellow Charger registered

           to her drop someone off at that address. Id. The 1686 Jodeco Road residence and the

           utilities at 1680 Jodeco Road were in Tillman’s name. Id. Those two residences shared

           a common driveway. T3:23. The police further determined that no one lived at

           1680 Jodeco Road. Inside that location were stored gaming machines of JSCJ and

           Old South, a gaming machine with a JSCJ tag linked to a video surveillance system and

           a document that stated “For Josh.”      T3:22.    The plant-growing system inside

           1680 Jodeco Road was similar to the ones found at 925 Hemphill and 436 Hood Road

           in design, equipment, watering system, nutrients, lighting, and HVAC. T3:22-22.

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                 Law enforcement also determined that those maintaining the grow houses in this

           investigation used two methods to package marijuana, using either vacuum-sealed

           plastic bags or Mason jars. T3:19. Police found Mason jars at 166 Alexander

           Drive. Id. When searching 166 Alexander Drive, 925 Hemphill Road, 1680 Jodeco

           Road, and 436 Hood Drive, the police found “HP,” “WW,” and “BJ” strains of

           marijuana and believed that the plants at 166 Alexander Drive were the male plants that

           provided the seeds for the other locations. T3:19.

                 In searching Backwoods Bar & Grill, police located a handgun; cocaine;

           marijuana in a jar labeled either “HP” or “AK,” similar to labels found at the other

           locations; and a purchase-and-sale agreement for 436 Hood Road signed by Josh

           McCullough in August 2010, with a scheduled closing in September 2010.

           T3:25, 49-50, 73.

                 Paul Bunch was present when Old South and JSCJ, both located at

           1396 Commerce Drive, Stockbridge, Ga., were searched on December 8, 2010. T3:26.

           Bunch was Old South’s secretary. T3:13, 60.8 When 445 Hood Road was searched,

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                         Law enforcement believed that Old South Amusements was providing
           funding for the grow house operations. T3:47. However, at the time 436 Hood Road
           was searched, law enforcement had found no evidence of funding from the business
           other than use of corporate property and the involvement of corporate employees and/or
           officers in the operation or support of the grow houses. T3:62, 69.

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           approximately twenty firearms, marijuana, an empty vacuum-sealed bag with “HP”

           written upon it in indelible ink and containing marijuana residue, DVDs explaining how

           to set up a marijuana grow operation, and a newspaper article about the Autrys’ and

           McKenzie’s arrests in November were seized. T3:27-28. A subsequent search warrant

           at 436 Hood Road revealed a marijuana grow operation similar to that found in the

           other locations. T3:29. As a result, the police concluded that the grow houses were run

           by the same individuals, although no individuals lived at any of them. T3:30, T3:38-

           39.   They also believed that as various grow houses were discovered by law

           enforcement, new locations were being established. T3:53.

                 Also located at 436 Hood Road was a letter from the Park Avenue Bank in

           McDonough, Georgia, addressed to Paul Bunch at 1850 Flat Rock Road, detailing the

           monthly mortgage payment amount for 436 Hood Road, T3:30; Gov’t Ex. 4 at 4539,9

           and a power bill for 436 Hood Drive in Ira Butler’s name. T3:30.

                 Bunch drove a dark-colored Chevrolet pickup truck with a Texas plate and a

           hydraulic-lift gate capable of moving heavy items such as those located at 436 Hood


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                       The document purported to be signed by Bunch and was dated
           November 1, 2010. T3:34; Gov’t Ex. 4 at 4539. There was no envelope which would
           show the date of mailing, nor is there evidence in the record as to whether it was even
           mailed. T3:33.

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           Road. T3:74, 86. Bunch’s vehicle was not surveilled at any of the grow houses,

           however. T3:36-37. Nor did the police have any information that Bunch was present

           at any of the grow houses. T3:55-56. Law enforcement likewise did not observe

           Bunch or a vehicle associated with him at 436 Hood Road. T3:36, 54. No one

           appeared to reside in any of the grow houses in the investigation. T3:39.

                              b.     Bunch’s arrest and the search of 1850 Flat Rock Road

                 In effecting Bunch’s arrest, five to six law enforcement agents in separate

           vehicles left 436 Hood Road in an effort to arrest him. T3:87. Henry County narcotics

           agent Michael Dailey, who had been involved in the searches earlier that day of

           1396 Commerce Drive (Old South and JSCJ) and 436 Hood Road, arrived first at

           1850 Flat Rock Road, which shared a driveway with another house. T3:86, 88. One

           house at this location was dark, while the other had lights on, and Dailey observed

           activity there. As a result, Dailey headed toward that location and observed Bunch’s

           pick-up truck next to a detached garage forty to fifty yards from the house but closest

           to the house with the lights on and activity. T3:89, 90. Dailey believed that address to

           be 1850 Flat Rock Road. T3:89. As he got out of his car, he saw a woman at the front

           door who asked, “Who is it?” and Dailey responded, “It is the Henry County Police.”

           T3:89. By this time, two other detectives were behind Dailey. T3:90. The officers

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           were in plain clothes with raid vests identifying them as police; none was brandishing

           a weapon. T3:90. The woman retreated and closed the door, and then a male came out.

           T3:91. Dailey learned the female was Sandra Whorton and the male was Jimmy Ray

           Whorton. T3:93. The door to the residence was open, and while Dailey spoke with

           Jimmy Ray Whorton, he could see Bunch seated inside at a table. T3:93. Dailey knew

           that when 1396 Commerce Drive was searched earlier that day, Bunch’s vehicle was

           searched and a .45 caliber handgun was located in it. T3:93-94.

                 Dailey asked Bunch to come outside to speak with him. T3:94. Bunch exited

           the house and Dailey again told him he wanted to speak with him. T3:94-95. Bunch

           walked with Dailey down the steps to the driveway area. T3:95, 129. On the way

           down the stairs to the driveway area, Dailey did not touch Bunch. Id. Once on the

           driveway, Dailey placed handcuffs on Bunch, told him they had just left

           436 Hood Road and that he was under arrest for manufacturing marijuana. T3:96, 130.

           He did not advise Bunch about a grow house at that point. T3:131. Two other

           detectives were eight to ten feet away. T3:95-96. Bunch did not appear to be under the

           influence of alcohol or drugs. T3:96-97. His demeanor was calm, and he did not

           appear to be upset, confused, or disoriented. T3:97. Dailey proceeded to orally advise

           Bunch of his Miranda warnings from memory as follows:

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                 He had the right to remain silent. Anything you say can and will be used
                 against you in a court of law. You have the right to an attorney. If you
                 cannot afford to hire an attorney, one will be appointed to represent you
                 before any questioning if you wish. You can decide at any time not to
                 answer any questions or make any statements.

           T3:98, 131, 135. Dailey asked Bunch if he understood his rights, and he acknowledged

           that he did. T3:99, 131. He did not ask Bunch if he waived his rights or wanted to

           speak with him. T3:134, 135. Dailey expressed his confusion as to which house was

           Bunch’s (the one Bunch had been seated in or the one next door), and Bunch responded

           that it was the other house. T3:99-100, 132. Bunch then stated that he did not live at

           436 Hood Road but rather he rented the property to a person named “Ira,” that he did

           not remember Ira’s last name, and that he had the paperwork at his house. T3:99, 101,

           132-33.

                 While they were talking, Bunch began to walk toward his house. T3:102, 133.

           Dailey asked Bunch if he (Dailey) could get the paperwork, and Bunch stated, “Yes.”

           T3:133-34. By this time, Dailey and Bunch were accompanied by three to four other

           officers. T3:102, 137. Dailey was not sure whether he placed his hands on Bunch.

           T3:101. As they approached the front steps to Bunch’s house, Dailey stated to Bunch

           that they had just located a grow house at 436 Hood Road, and Dailey wanted to know

           if he knew anything about it. Bunch responded that he would rather talk to an attorney

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           before answering any questions about any kind of marijuana grow houses.

           T3:102, 136.

                 By this time, Dailey and Bunch were on the front porch of Bunch’s house, and

           Bunch stated to Dailey that the keys were in his front pocket. T3:103, 138. Dailey

           asked him if he minded if he retrieved the keys from his pocket (Bunch still was

           handcuffed).10 Dailey obtained the keys, and because it was dark on the porch, Bunch

           told him which key opened the front door. T3:103-04, 138.

                 Dailey asked Bunch if there was anybody else in the house, and Bunch stated,

           “no.” T3:104. Dailey opened the front door, and Bunch was allowed to walk in first.

           T3:104. Agent Woodard also entered the house with them. T3:104. Since the house

           was dark, Dailey used his flashlight for illumination. T3:139. As they entered the

           house, Bunch stated that the paperwork was upstairs in the safe in his bedroom.

           T3:104, 140. Bunch led Dailey up the steps into his bedroom. Dailey turned on the

           light and saw “an enormous amount of firearms laying about inside his

           bedroom . . . [a]ssault weapons, handguns . . . .” T3:106, 141.

                 Dailey grabbed Bunch’s handcuffs and pulled him back. He took Bunch

           downstairs to the foyer and told Woodard what he found. T3:106. Other officers

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                          The record is silent as to whether Bunch verbalized a response.

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           performed a security sweep to make sure no one else was in the house, given the large

           number of weapons found in the bedroom. T3:106-07. In sweeping the house, the

           officers did not smell marijuana or see any blowers or PVC pipe or hear music as in the

           grow houses in the investigation. T3:143-45. When the sweep was completed, Bunch

           was taken to the ground floor of the residence where there was a couch. Before he was

           seated there, the couch was checked and a loaded firearm was located in the cushions.

           T3:107. Ponder arrived and Dailey showed him the firearms. T3:108.

                 A state search warrant was then sought and obtained. T3:110. In the warrant

           application, Ponder (as affiant) claimed there was probable cause to believe that at the

           residence, “illicit drugs, namely marijuana and documentation related to the financing

           of marijuana manufacturing” were present, [Doc. 205-6 at 2], and sought authorization

           to search for and seize the following items:

                 Marijuana, and other substances in violation of the Georgia Controlled
                 Substances Act O.C.G.A. 16-13-30; paraphernalia; marijuana growing
                 equipment; timers; outlets; buckets; packaging material commonly used
                 to hold controlled substances; scales or measuring devices; U.S. Currency
                 or valuables determined to be the proceeds from the sale of controlled
                 substances; notes, ledgers, and other papers relating to the transportation,
                 shipping, ordering, purchase, and distribution of controlled substances;
                 paperwork indicating occupancy, residency, rental and/or ownership of
                 the premises at 1850 Flat Rock Road, Stockbridge, Henry County,
                 Georgia, 30281, including but not limited to, utility and telephone bills,
                 envelopes, rental purchase or lease agreements, and keys; firearms,

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                 components of firearms, and ammunition; electronic surveillance
                 equipment; photographs; and cellular phones, to include all fruits of the
                 crime.

           [Doc. 205-6 at 3].

                 Ponder’s affidavit provided the following facts in support of the warrant’s

           issuance. He noted the search of 436 Hood Road on December 8, 2010, that resulted

           in the discovery of several marijuana plants in the cultivation process. The affidavit

           also stated that paperwork was located at 436 Hood Road identifying Bunch as the

           owner of the residence, which he financed through The Park Avenue Bank. Ponder

           recounted that Dailey located Bunch at 1828 Flat Rock Road (which Dailey initially

           thought was 1850 Flat Rock Road). Dailey recognized Bunch because he was present

           at the search earlier that day at Old South Amusements. Ponder also stated that Dailey

           asked Bunch to exit 1828 Flat Rock Road so he could explain the reason Dailey was

           there, and then placed Bunch under arrest for the marijuana cultivation at

           436 Hood Road and handcuffed him. After being verbally advised of Miranda rights,

           Bunch stated that he understood his rights, and upon being asked whether the house at

           which he was located was his house, Bunch stated he lived at the house next door. He

           then stated he rented 436 Hood Road to a man named Ira, but that he did not know his

           last name, and that the rental paperwork for that location was in a safe in his house.

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           Dailey asked Bunch if he could get the paperwork for him to see and Bunch replied that

           he would. As Bunch and Dailey were walking to Bunch’s residence, Dailey told him

           that an indoor marijuana cultivation operation was found at 436 Hood Road and asked

           Bunch what he knew of it. Bunch stated he would rather speak to his attorney.

           [Id. at 4-5].

                  The affidavit further provided that at the front door to 1850 Flat Rock Road,

           Bunch stated that the key was in his front pocket and the paperwork was in a safe

           upstairs. After they entered the house and went upstairs to the master bedroom, Dailey

           saw numerous assault rifles and handguns on the floor. He stopped Bunch from

           retrieving the paperwork from the safe and took him downstairs. Ponder then wrote:

                  Paul Bunch is a key operator for Old South Amusement, who through
                  Henry County Investigations of illegal marijuana manufacturing, has been
                  linked to Josh McCullough. Josh McCullough has also been arrested for
                  manufacturing marijuana, in relation to the cultivation operation located
                  at 436 Hood Road, Stockbridge. James McKenzie has been linked to Old
                  South Amusements and has also been arrested for manufacturing
                  marijuana at 925 Hemphill Road, Stockbridge, in November. Karry Autry
                  has also been linked to Old South Amusements and has also been arrested
                  for manufacturing marijuana at 166 Alexander Drive, McDonough, in
                  November.




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           [Id. at 5]. Ponder also stated that in his training and experience he became aware that

           drug dealers keep weapons in their residences to protect themselves from home

           invasion robberies and for protection from law enforcement. [Id. at 5-6].

                 In executing the search warrant, law enforcement found and seized, inter alia,

           a large amount of currency and a large number of firearms that were located in the

           closet in the master bedroom. T3:114, 117.

                 Discussion of the issues

                        1.    Paul Bunch’s standing to challenge the search at 436 Hood Road

                 The Fourth Amendment protects an individual in those places where he can

           demonstrate a reasonable expectation of privacy against government intrusion.

           See Katz v. United States, 389 U.S. 347, 353 (1967). Fourth Amendment rights are

           personal, and only individuals who actually enjoy the reasonable expectation of privacy

           may challenge the validity of a government search. Rakas v. Illinois, 439 U.S. 128,

           133-34, 143 (1978); United States v. Cooper, 203 F.3d 1279, 1284 (11th Cir. 2000). An

           individual has standing11 to challenge a search if “(1) he has a subjective expectation

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                        The undersigned recognizes that the Supreme Court disapproves of the use
           of the word “standing.” See Rakas, 439 U.S. at 139-40; see also United States v.
           Hawkins, 681 F.2d 1343, 1344-45 (11th Cir. 1982). However, the undersigned will use
           the word “standing” when referring to whether the defendants have an expectation of
           privacy because courts routinely use “standing” as “shorthand for the existence of a

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           of privacy, and (2) society is prepared to recognize that expectation as objectively

           reasonable.” United States v. Harris, 526 F.3d 1334, 1338 (11th Cir. 2008). That is, a

           defendant must establish both a subjective and an objective expectation of privacy.

           United States v. Segura-Baltazar, 448 F.3d 1281, 1286 (11th Cir. 2006); United States

           v. Robinson, 62 F.3d 1325, 1328 (11th Cir. 1995). The subjective prong is a factual

           inquiry, United States v. McKennon, 814 F.2d 1539, 1543 (11th Cir. 1987); see also

           United States v. Jones, 184 Fed. Appx. 943, 947 (11th Cir. 2006), and “requires that a

           person exhibit an actual expectation of privacy,” United States v. King, 509 F.3d 1338,

           1341 (11th Cir. 2007) (quoting Segura-Baltazar, 448 F.3d at 1286). The objective

           prong is a question of law, McKennon, 814 F.2d at 1543, and “requires that the privacy

           expectation be one that society is prepared to recognize as reasonable,” King, 509 F.3d

           1338, 1341 (11th Cir. 2007) (quoting Segura-Baltazar, 448 F.3d at 1286).

                 Courts assess on a case-by-case basis the “standing” of a particular person to

           challenge an intrusion by government officials into an area over which that person

           lacked primary control. Oliver v. United States, 466 U.S. 170, 191 n.13 (1984).

           No one circumstance is talismanic to this inquiry. “While property ownership is clearly



           privacy or possessory interest sufficient to assert a Fourth Amendment claim.” United
           States v. Daniel, 982 F.2d 146, 149 n.2 (5th Cir. 1993).

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           a factor to be considered in determining whether an individual’s Fourth Amendment

           rights have been violated, property rights are neither the beginning nor the end

           of . . . [the] inquiry.” United States v. Salvucci, 448 U.S. 83, 92 (1980) (citation

           omitted). Other factors to be weighed include whether the defendant has a possessory

           interest in the thing seized or the place searched, whether he has the right to exclude

           others from that place, whether he has exhibited a subjective expectation that it would

           remain free from governmental invasion, whether he took normal precautions to

           maintain his privacy and whether he was legitimately on the premises. United States

           v. Pitt, 717 F.2d 1334, 1337 (11th Cir. 1983); United States v. Haydel,

           649 F.2d 1152, 1154-55 (5th Cir. Unit A 1981).12 To have standing, the defendant bears

           the burden of showing a legitimate expectation of privacy in the area searched. Harris,

           526 F.3d at 1338; United States v. Brazel, 102 F.3d 1120, 1147 (11th Cir. 1997).

                 The Court gave Bunch the opportunity to establish that he had standing to

           challenge the execution of the search warrant executed at 436 Hood Road. T2:80-87.

           Bunch’s only presentation was that Brendlin v. California, 551 U.S. 249 (2007),

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                         The Eleventh Circuit has adopted as binding precedent decisions of the
           Fifth Circuit, including Unit A panel decisions of that circuit, that were rendered prior
           to October 1, 1981. See United States v. Todd, 108 F.3d 1329, 1333 n.5
           (11th Cir. 1997); Limelight Prods., Inc., v. Limelite Studios, Inc., 60 F.3d 767, 769 n.1
           (11th Cir. 1995).

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           afforded Bunch standing. Brendlin held that a passenger of a vehicle may challenge the

           constitutionality of the initial stop of the vehicle rather than the search of the vehicle

           in which he is riding. Id. at 251, 245, 256-58. Brendlin provides no support for

           Bunch’s argument that a landlord has standing to challenge the search of his tenant’s

           residence. See United States v. Rose, Criminal Action No. 09-84, 2010 WL 3927316,

           at *2 (E.D. Pa. Oct. 4, 2010) (“There was no car stop in this case so Brendlin does not

           apply.”)

                 In any event, as the Court stated in its earlier R&R, [Doc. 333 at 68-71], a

           landlord does not ordinarily have a legitimate expectation of privacy in his tenant’s

           property sufficient to allow the landlord to challenge a search of his tenant’s premises.

           Miller v. Hassinger, 173 Fed. Appx. 948, 952 (3d Cir. Apr. 6, 2006) (landlord had no

           expectation of privacy in leased-out apartment where he had no right of access and did

           not store personal items there); Rosman v. City of Columbia Heights, 268 F.3d 588, 591

           (8th Cir. 2001) (holding that landlord lacked standing to assert tenant’s Fourth

           Amendment rights); Mangino v. Inc. Village of Patchogue, 739 F. Supp. 2d 205, 234

           (E.D.N.Y. 2010) (“A landlord generally does not have a reasonable expectation of

           privacy with respect to property that he has rented to a tenant and that is occupied by

           that tenant.”) (citing cases); Steinhauser v. City of St. Paul, 595 F. Supp. 2d 987, 1006-

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           07 (D. Minn. 2008) (holding that landlords did not have reasonable expectation of

           privacy in their tenants’ apartments); United States v. Cruz, 475 F. Supp. 2d 250, 257

           (W.D.N.Y. 2007) (“Ownership of premises alone does not automatically confer

           standing.”); Dearmore v. City of Garland, 400 F. Supp. 894, 900 (N.D. Tex. 2005)

           (“[T]he property owner has no expectation of privacy if the property is leased.”). Thus,

           Bunch’s status as owner and landlord of 436 Hood Road does not give him standing to

           challenge the search.

                 Also, the Court reiterates that the lease agreement Bunch had with Butler did not

           grant Bunch an expectation of privacy sufficient to enable him to challenge the search

           of the premises.13 That lease granted Bunch the following rights of access to

           436 Hood Road: (1) a copy of the key to the residence (Lease ¶ 10 in Doc. 253-7 at 2

           in Exh. G); (2) the right to inspect the property at all reasonable times (id. ¶ 19 in

           Doc. 253-7 ¶ 19); and (3) the restriction of the lessee’s use of the property, (see id. ¶¶ 8

           (restricting number of occupants), 14 (prohibiting subletting without prior consent), 15

           (prohibiting lessee from making changes to property without landlord’s permission),

           23 (requiring landlord’s permission to have pets)). These lease terms do not show,


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                         Even if the lease had been authenticated at the evidentiary hearing, which
           it was not.

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           however, the Bunch had any expectation of privacy in the premises, as he did not

           maintain any right of possession of the 436 Hood Road home for himself. Langley v.

           Pernell, No. 5:02-cv-269, 2004 WL 3334795, at *2 (E.D.N.C. Oct. 6, 2004) (“The

           general rule is that a tenant, not the landlord, has the expectation of privacy in leased

           premises, unless the lessor has specifically reserved any rights of possession for

           himself.”); Schneider v. Cnty. of San Diego, 28 F.3d 89, 92 (9th Cir. 1994) (finding

           landowner did not have standing where he did not live in the home); Looney v. City of

           Wilmington, Del., 723 F. Supp. 1025, 1031 & n.9 (D. Del. 1989). Also, there is no

           indication that Bunch used the residence as his home or ever resided there. Bonds v.

           Cox, 20 F.3d 697, 701 (6th Cir. 1994) (holding that homeowner did not have standing

           to contest search where she was not living at the home while another individual was

           living at the home); United States v. Rios, 611 F.2d 1335, 1345 (10th Cir. 1979) (finding

           mobile home owner did not have standing where he did not “ ‘t[ake] normal

           precautions to maintain his privacy,’ ” (quoting Rakas, 439 U.S. at 152 (Powell, J.,

           concurring)), or used the mobile home in such a way as to raise an expectation of

           privacy); Godshalk v. Borough of Bangor, No. Civ. A. 03-1465, 2004 WL 999546,

           at *10 (E.D. Pa. May 5, 2004) (finding no standing where party merely owned premises




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           in which apartment was located but never resided in the apartment or used the

           apartment in any way to give an expectation of privacy).

                 Therefore, Bunch does not have a legitimate expectation of privacy sufficient to

           allow him to challenge the search of 436 Hood Drive.

                        2.     Propriety of Knock-and-Talk and Probable Cause to Search
                               436 Hood Road

                               a.    Contentions of the parties

                 In his preliminary motion to suppress, Bunch14 argued that the search of

           436 Hood Road was invalid because: (1) the warrant was not supported by probable

           cause; (2) the warrant relied on information from individuals without establishing a

           basis for knowledge or indicia of reliability; and (3) the warrant was a general warrant.

           [Doc. 146 at 2]. In a particularized motion, Bunch and Butler argued that the Henry

           County officers’ incursion into the curtilage of the property violated the Fourth

           Amendment because the purpose of the entry was to perform a search and not a knock-

           and-talk, as evidenced by the use of a spotlight, the peering through the back door

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                        The Court discusses the merits of Bunch’s arguments as to the propriety
           of the search of 436 Hood Road in the event the District Judge concludes that Bunch
           had a legitimate expectation of privacy in the premises. Butler adopted the
           particularized motion to suppress by Bunch. [See Docs. 211 (granting oral motion to
           adopt), 213 (adopted motion to suppress)]. As a result, the undersigned’s summary of
           Bunch’s brief also summarizes Butler’s positions.

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           window, and the examination of the electric meter when walking around the house.

           [Doc. 196 at 4]. Finally, they argued that the search warrant was not supported by

           probable cause when the information illegally obtained is removed from the affidavit.

           [Id.].

                    The government responded that probable cause supported the search warrant for

           the 436 Hood address because (1) plastic sheeting covered the garage door, and

           (2) there was an overwhelming smell of raw marijuana. [Doc. 236 at 39]. The

           government contended that any information obtained from the backyard of the home

           was not necessary for probable cause, but at any rate, entry into the area did not violate

           the Fourth Amendment. [Id. at 39-40]. Finally, the government argued that the search

           warrants were sufficiently specific. [Id. at 47].

                    In a reply brief, Bunch argued that the affidavit relied on evidence obtained from

           an illegal search of the curtilage because the entry was made to conduct a search as

           demonstrated by the officers’ use of a spotlight, deviation from the normal approach

           of the house by walking around its perimeter, walking past a side door to the back,

           climbing the stairs of the back deck, and peering through the blinds of the back door.

           [Doc. 253 at 8-9 (relying on United States v. Conrad, 578 F. Supp. 2d 1016

           (N.D. Ill. 2008))]. Bunch also argued that there was no rational basis for this conduct

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           by arguing that: (1) the officers’ behavior did not constitute a knock-and-talk because

           there is no indication that Romano wanted to speak with the occupant; (2) there were

           no exigent circumstances; and (3) the officers were not conducting a protective sweep.

           [Id. at 10-11]. Finally, he argued that the officers used the spotlight to make

           observations while standing closely to the home. [Id. at 11-12].

                 In its post-evidentiary hearing brief, the government argues that Romano and

           Ponder were authorized to conduct a knock-and-talk at 436 Hood Road based on the

           investigation up to that point, their findings at 445 Hood Road, and the location of the

           purchase-and-sale agreement at Backwoods Bar & Grill. It also argues that the agents

           were authorized to go to the side of the house illuminated by the spotlight because it

           was lighted and reasonably considered an appropriate entry point for

           visitors. [Doc. 418 at 15-16, 18]. As a result of being lawfully on the side of the house,

           the agents validly observed the black plastic sheeting on the door’s window, which was

           similar to the covers observed at other grow houses. It also asserts that since the agents

           received no response to their knocking on the side door under the illuminated light, they

           were allowed to go to the front door and attempt to contact any occupants of the

           household. [Id. at 16]. The government then contends that since the agents heard

           music and smelled raw marijuana at the front porch but again received no response to

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           their knocking, they legitimately could go to the back of the house and up the deck

           stairs in an effort to contact any occupants of the residence. [Id.]. It then submits that

           because the agents were lawfully on the scene and they were able to see into the lighted

           house through the partially opened blinds without any contortions or pressing against

           the window, their observations were lawful. [Id.]. Finally, the government argues that

           the agents lawfully could have gone around the far side of the house to see if anyone

           was fleeing from the residence or lurking about, and thus properly observed that the

           electric meter was turning very fast. [Id. at 16-17]. As a result, the government

           contends, all of the agents’ observations—the black window covering, raw marijuana

           smell, the grow buckets and media observed through the rear window, and the rapidly

           circulating electric meter—were lawfully observed in plain view. [Id. at 18-19].

                 In his response, Butler argues that the agents illegally entered the curtilage of his

           residence, and that all of the information the agents obtained was from within that

           curtilage area, including the side door, front porch, and back deck. [Doc. 432 at 8]. He

           also argues that there was a reasonable effort to maintain privacy from the public,

           because the house was bordered by a fence, the driveway was cordoned off by a closed

           gate and the property was surrounded by tall trees. [Id.]. He submits that Conrad,

           578 F. Supp. 2d at 1027-29, is instructive because there the court held that a back deck

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           attached to the home was within the protected curtilage which was violated when

           officers peered through the windows while standing on the back deck. [Doc. 432 at 9].

           He argues that the back deck at 436 Hood Road was even more protected than the deck

           in Conrad because it looked out on a thick tree line. [Id.]. He then contends that the

           officers performed an illegal search when they looked inside the windows to see

           buckets and other materials, and since the electrical meter was small and slightly

           hidden, it only could have been read by an improper warrantless search of the

           curtilage. [Id. at 9-10].

                 Butler next argues that the discovery of the purchase-and-sale agreement at

           Backwoods Bar & Grill in the name of Joshua McCullough did not establish the

           requisite reasonable suspicion to justify a knock-and-talk at 436 Hood Road, and the

           evidence that the agents had was far less than the evidence found to justify

           knock-and-talks in other cases. [Id. at 10-11]. He argues, therefore, that it is clear that

           the officers intended to conduct a warrantless search of the property. [Id. at 11-12].

                 The government replies that the agents performed a legitimate knock-and-talk.

           First, it argues that Butler’s argument that the property was closed off by a gate is not

           correct,   since   the      undisputed   evidence was that the gate was open.

           [Doc. 436 at 2 n.1 (citing T2:93-94)]. It also distinguishes Conrad since in that case

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           the officers had to unlatch a gate to enter the deck and lean or stand upon a railing to

           look inside the residence. [Id. at 3 n.2 (citing Conrad, 578 F. Supp. 2d at 1028-29)].15

           It next argues that the agents were permitted to go onto the property for legitimate

           police purposes to knock on the door to the residence, and were permitted to move

           away from the illuminated doorway to other parts of the premises in an attempt to

           contact the occupants. [Id. at 2-3]. It also contends that the illuminated side area and

           the front porch were not areas that Butler had a reasonable expectation of privacy

           because the police could go wherever the public is expected to go. [Id. at 4 (citing

           Coffin v. Brandau, 642 F.3d 999, 1012 (11th Cir. 2011))]. Since the illuminated side

           door and the front porch were areas visible to passers-by and were areas generally

           accessible to the public, the agents could legitimately access the property from those

           points. [Id. at 5].16 The government then argues that all items observed in plain view


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                        The government also distinguishes Conrad on the grounds that the Seventh
           Circuit does not recognize a knock-and-talk as a legitimate exception to the warrant
           requirement. [Doc. 436 at 3-4 n.2 (citing Conrad, 578 F. Supp. 2d at 1030)].
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                        In its reply brief, the government also argues that those areas are within
           areas that “ ‘homeowners grant members of the general public – mail carriers,
           sanitation workers, neighbors, Girl Scouts, to name a few – an implied consent to enter
           those areas for purposes that accompany the normal interactions of a socialized,
           civilized society.’ ” [Doc. 436 at 5 (citation omitted)]. To the extent that the
           government is raising a new theory of implied consent, it is rejected, because a party
           may not raise new arguments in a reply brief. Lovett v. Ray, 327 F.3d 1181, 1183

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           are admissible. [Id. at 3]. Finally, the government argues that by the time the agents

           went to the rear of the house, they had discovered information linking the address to a

           grow house operation, saw black covering on the side-door window similar to that

           observed at other grow houses in this investigation, heard music playing inside the

           house, and smelled a strong odor of raw marijuana from inside the house. Therefore

           the agents had sufficient probable cause to obtain the warrant even if the observations

           from the back deck and electrical meter are removed from the affidavit. [Id. at 6].

                              b.     Discussion

                 The Court concludes that although law enforcement exceeded the scope of the

           permissible knock-and-talk at 436 Hood Road, the search warrant authorizing the

           search of the premises was nonetheless supported by probable cause based on the

           officers’ lawful observations.

                 The Fourth Amendment protects the curtilage of a dwelling, i.e., the area

           immediately surrounding the home that “extends the intimate activity associated with

           the ‘sanctity of a man’s home and the privacies of his life.’ ” Oliver v. United States,

           466 U.S. 170, 178, 180 (1984) (quoting Boyd v. United States, 116 U.S. 616, 630

           (1886)). To determine whether some area constitutes the curtilage of the home, the


           (11th Cir. 2003) (per curiam).

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           Supreme Court has identified four factors to consider: (1) the proximity of the area

           claimed to be curtilage to the home; (2) whether the area is in an enclosure; (3) the

           nature of the uses for the area; and (4) the steps taken to protect the area from

           observation by passers-by. United States v. Dunn, 480 U.S. 294, 301 (1987). Although

           the curtilage is protected by the Fourth Amendment, this amendment “is not implicated

           by entry upon private land to knock on a citizen’s door for legitimate police purposes

           unconnected with a search of the premises.” United States v. Taylor, 458 F.3d 1201,

           1204 (11th Cir. 2006) (citing Coolidge v. New Hampshire, 403 U.S. 443, 466 (1971);

           United States v. Tobin, 923 F.2d 1506, 1512 (11th Cir. 1991) (en banc)); see also United

           States v. Knight, 451 F.2d 275, 278 (5th Cir. 1971). Thus, an officer may approach a

           house to perform a knock-and-talk unless the occupant orders him off the property or

           the officer does not intend to ask questions. Taylor, 458 F.3d at 1204. Also, courts

           have concluded that an officer may move to the rear of the house when no one answers

           the front door. Hardesty v. Hamburg Twp., 461 F.3d 646, 654 (6th Cir. 2006) (joining

           Third, Fourth, Eighth, and Ninth Circuits in concluding that where police officers

           knocked on front door and received no answer, they could move to back door); United

           States v. Anderson, 552 F.2d 1296, 1300 (8th Cir. 1977), cited with approval by Taylor,

           458 F.3d at 1205; see also United States v. Gomez-Moreno, 479 F.3d 350, 356 (5th Cir.

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           2007)     (suggesting   that   in   a   reasonable   knock-and-talk,    officers   who

           receive no answer at the front door might have knocked on the back door); United

           States v. Hill, 795 F. Supp. 2d 1304, 1308 (M.D. Fla. 2011) (noting that in some

           circumstances, officers may move to back door to conduct knock-and-talk). But see

           Pena v. Porter, 316 Fed. Appx. 303, 314 (4th Cir. Mar. 13, 2009) (finding Fourth

           Amendment violation where officer moved to back of camper after no one answered

           front door where trailer was only ten feet wide).

                   First, the Court concludes that a lawful knock-and-talk investigation occurred.

           Ponder and Romano were entitled to leave 445 Hood Road and go perform a

           knock-and-talk at 436 Hood Road because they had reasonable suspicion that the

           residence was connected to the marijuana grow operation under investigation. While

           searching Josh McCullough’s residence at 445 Hood Road, at which they discovered

           evidence that McCullough was engaged in marijuana cultivation, law enforcement was

           told that a search of his business turned up a purchase-and-sale agreement for another

           property in the same cul-de-sac as McCullough’s residence. The officers reasonably

           could have concluded, based on their investigation, that the conspirators maintained

           related pairs of houses to further their marijuana cultivation activities, for example,

           such as 1680 and 1686 Jodeco Road. The officers also were able to see from the street

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           a light shining at the top of the driveway at 436 Hood Road, T2:123-25, and therefore

           had reason to believe that someone was present at the location. For these reasons,

           reasonable suspicion supported the attempt to perform a knock-and-talk. Tobin,

           923 F.2d at 1511 (recognizing that while reasonable suspicion does not justify a

           warrantless search of a residence, it permits law enforcement to approach a residence

           to ask questions) (citation omitted).17 Thus, it was reasonable for Ponder and Romano

           to go to the residence in an attempt to question any occupants.                Taylor,

           458 F.3d at 1204 (“Absent express orders from the person in possession, an officer may

           walk up the steps and knock on the front door of any man’s castle, with the honest

           intent of asking questions of the occupant thereof. Thus, officers are allowed to knock

           on a residence’s door or otherwise approach the residence seeking to speak to the

           inhabitants just as any private citizen may.”) (citations and quotation marks omitted).




                 17
                        Reasonable suspicion is defined as “ ‘specific and articulable facts which
           taken together with rational inferences from those facts, reasonably warrant [an]
           intrusion.’ ” United States v. Cooper, 873 F.2d 269, 274 (11th Cir. 1989) (quoting
           United States v. Espinosa-Guerra, 805 F.2d 1502, 1508 (11th Cir. 1986), and Terry v.
           Ohio, 392 U.S. 1, 21 (1968)).

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                 Next, to the extent that the side door where the floodlight was shining was within

           the curtilage of 436 Hood Road,18 but see United States v. Rodgers, 924 F.2d 219, 221

           (11th Cir. 1991) (finding that the pathway that led from the driveway to the front door

           was not within the curtilage); United States v. Alvin, No. CR208-25, 2009 WL 722267,

           at *3 (S.D. Ga. Mar.18, 2009) (finding that a driveway was not located within the

           curtilage of the residence where it was used for ingress to and egress from the

           residence, was not within an enclosure of any kind, and was not obstructed in any way

           from the public’s observation), the legitimacy of the officers’ intended knock-and-talk

           was not undercut by their going to the lighted side door in an effort to determine

                 18
                         The Court finds that the evidence was undisputed that there was no closed
           gate across the driveway. Also, where there was an open gate or fence break on the
           driveway that the officers traversed while going to the structure, no Fourth Amendment
           violation occurred. The gate or fence break was far from the residence. See Oliver,
           466 U.S. at 178 (“[A]n individual may not legitimately demand privacy for activities
           conducted out of doors in fields, except in the area immediately surrounding the
           home.”); Taylor, 458 F.3d at 1204, 1208 (officers’ warrantless entry by opening a
           closed gate does not violate the Fourth Amendment because “perimeter fence around
           property does not create a constitutionally protected interest in all the open fields on the
           property.”); see also United States v. Otero, 231 Fed. Appx. 809, 809-10
           (10th Cir. May 4, 2007) (police officers did not violate owner’s Fourth Amendment
           rights by going through an unlocked gate and knocking on the door of the residence);
           United States v. Weston, 443 F.3d 661, 667 (8th Cir. 2006) (permissible knock-and-talk
           when officers entered property through an unlocked gate to ask the resident about
           stolen vehicles); Edens v. Kennedy, 112 Fed. Appx. 870, 875-76 (4th Cir. Aug. 4, 2004)
           (holding that “even within the curtilage, the police may traverse a fence if there is no
           clear indication that the homeowner intended to exclude uninvited visitors”).

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           whether anyone was at home. See United States v. James, 40 F.3d 850, 862 (7th Cir.

           1994), rev’d in part on other grounds, 516 U.S. 1022 (1995) (“[W]here the back door

           of a residence is readily accessible to the general public, the Fourth Amendment is not

           implicated when police officers approach that door in a reasonable belief that it is a

           principal means of access to the dwelling.”); United States v. Titemore,

           335 F. Supp. 2d 502, 505-06 (D. Vt. 2004) (knock-and-talk not invalidated by officers

           by not going to door defendant contended was “only legitimate access point for

           visitors” where officers went to sliding door on porch more open to public view,

           officers observed light from television through the sliding door, and thus “even more

           appropriate as a place to try to contact the occupant”; “An officer making a ‘knock and

           talk’ visit may approach any part of the building that where [sic] uninvited visitors

           could be expected.”).

                 Next, when no one responded to the agents’ knocking at the illuminated side of

           the house, Ponder and Romano lawfully walked onto the front porch in an effort to

           knock on the front door. Taylor, 458 F.3d at 1205; United States v. Hammett,

           236 F.3d 1054, 1060 (9th Cir. 2001) (cited with approval in Taylor, id.) (officers

           legitimately circled house in an attempt to locate someone with whom they could

           speak); Hill, 795 F. Supp. 2d at 1308.

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                   Further, the Court finds that Romano and Ponder went to 436 Hood Road with

           the “the honest intent of asking questions of the occupant.” Taylor, 458 F.3d at 1204

           (emphasis added); see also United States v. Del Val, 223 Fed. Appx. 963, 965

           (11th Cir. May 17, 2007) (“Accordingly, officers are allowed to approach a residence

           intending to speak with the inhabitants.”). First, the undersigned credits Romano’s

           testimony that this is what they intended to do. T2:93, 167. Second, that the agents

           went to the lighted side door and knocked confirms their intent to perform a knock-and-

           talk rather than a search. Third, their entry onto the front porch after no one answered

           the knock on the side door is further evidence of their intent to perform a knock-and-

           talk.

                   On the other hand, Ponder’s looking into the windows on the front porch, the

           officers’ looking though the blinds at the rear of the structure19 and their inspection of

           the electrical meter on the far side of the building constituted an impermissible

           extension of the knock-and-talk because these areas were within the protected curtilage

           of the residence and such actions constituted a search that required a warrant. Where


                   19
                        The Court also concludes that to look inside the window off of the rear
           deck would have required some effort and was not the result of the blinds being opened
           so as to expose the contents of the room inside to plain view. See Gov’t Ex. 4 at photos
           177, 200. The blinds were tightly closed.

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           officers intrude upon curtilage, without a warrant, in the absence of exigent

           circumstances, for the “purpose of conducting a search for criminal activity,” then that

           search is improper. United States v. Williams, 581 F.2d 451, 453 (5th Cir. 1978); see

           also Taylor, 458 F.3d at 1204 (stating that if an officer has “the honest intent of asking

           questions of the occupant” the officer may conduct a knock-and-talk) (quoting Davis

           v. United States, 327 F.2d 301, 303 (9th Cir. 1964))20; see also United States v. Troop,

           514 F.3d 405, 410 (5th Cir. 2008) (holding that once an attempt to initiate a consensual

           encounter with the occupants of a home fails, “the officers should end the knock and

           talk and change their strategy by retreating cautiously, seeking a search warrant, or

           conducting further surveillance” and concluding that border patrol agents violated the

           Fourth Amendment when they conducted a warrantless search of the curtilage after

           there was no response to a knock-and-talk attempt) (internal quotation omitted).

           But see United States v. Jordan, No. 3:06-CR-102, 2007 WL 2080556, at *6

           (E.D. Tenn. July 16, 2007) (where agent was legitimately on premises to perform


                 20
                        The Court observes that the Ninth Circuit has recently abandoned the
           “subjective test” for determining the legitimacy of knock-and-talk entries. See United
           States v. Perea-Rey, 680 F.3d 1179, 1187-88 (9th Cir. 2012). Even if the validity of a
           knock-and-talk is judged from an objective perspective, the Court would hold that the
           peering into the windows and inspecting the electric meter constituted a warrantless
           search.

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           knock-and-talk, he could look inside undraped window for own safety). Of particular

           significance to this conclusion is the fact that Ponder and Romano had smelled

           marijuana by the time Ponder looked into the front porch window. See T2:139 (“We

           felt after going to the front door and smelling the raw marijuana, we had enough

           [probable cause]. We were doing a security sweep around the house to make sure

           nobody was running out. Approached the back door, you can see the glass, went back

           down and cleared the rest of the house.”).

                 Nonetheless, even if the facts learned from these unlawful actions are redacted

           from the warrant affidavit, probable cause existed to authorize the issuance of the

           warrant for 436 Hood Road. United States v. Davis, 313 F.3d 1300, 1302-04

           (11th Cir. 2002) (finding that because the warrant was supported by probable cause even

           if the tainted information was removed, the evidence recovered should not be

           suppressed); United States v. Whaley, 779 F.2d 585, 589 n.7 (11th Cir. 1986) (finding

           that “[w]hen some of the evidence in an affidavit is found to have violated the Fourth

           Amendment, ‘if sufficient untainted evidence was present in the affidavit to establish

           probable cause, the warrant was valid.’ ”) (quoting United States v. Karo, 468 U.S. 705,

           719 (1984)); see also United States v. Free, 254 Fed. Appx. 765, 768 (11th Cir. Nov. 19,

           2007) (“Even assuming . . . [the] protective sweep violated the [defendant’s] Fourth

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           Amendment rights, the warrant for the subsequent search was still valid because

           probable cause for the search was established by the affidavit independent of its

           reference to the small amount of marijuana discovered during the protective sweep.”).

                 Probable cause to support a search warrant exists when the totality of the

           circumstances allow a conclusion that there is a fair probability of finding contraband

           or evidence at a particular location. See United States v. Noriega, 676 F.3d 1252, 1261

           (11th Cir. 2012); United States v. Gonzalez, 940 F.2d 1413, 1419 (11th Cir. 1991).

           “[P]robable cause is a fluid concept--turning on the assessment of probabilities in

           particular factual contexts[.]” Illinois v. Gates, 462 U.S. 213, 232 (1983); United States

           v. Brundidge, 170 F.3d 1350, 1352 (11th Cir. 1999). “[P]robable cause deals ‘with

           probabilities. These are not technical; they are the factual and practical considerations

           of everyday life on which reasonable and prudent men, not legal technicians, act.’ ”

           Gates, 462 U.S. at 241 (quoting Brinegar v. United States, 338 U.S. 160, 175 (1949)).

           The task of the issuing magistrate judge in determining whether to issue a warrant “is

           simply to make a practical, common-sense decision whether, given all the

           circumstances set forth in the affidavit before him, including the ‘veracity’ and ‘basis

           of knowledge’ of persons supplying hearsay information, there is a fair probability that




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           contraband or evidence of a crime will be found in a particular place.” Gates,

           462 U.S. at 232; United States v. Jiminez, 242 F.3d 1243, 1248 (11th Cir. 2000).

                 In deciding whether to issue a search warrant, the issuing judge may rely upon

           the opinions and conclusions of an experienced law enforcement agent-affiant,

           Robinson, 62 F.3d at 1331 n.9, since “[c]onduct innocent in the eyes of the untrained

           may carry entirely different ‘messages’ to the experienced or trained observer.” United

           States v. Gonzalez, 969 F.2d 999, 1004 (11th Cir. 1992) (quoting United States v.

           Fouche, 776 F.2d 1398, 1403-04 (9th Cir. 1985)).

                 Finally, “probable cause must exist when the magistrate judge issues the search

           warrant,” United States v. Santa, 236 F.3d 662, 672 (11th Cir. 2000) (quoting United

           States v. Harris, 20 F.3d 445, 450 (11th Cir. 1994)), because a search is not to be made

           legal by what it turns up. United States v. Di Re, 332 U.S. 581, 595 (1948).

                 Then, the task of a reviewing court is not to conduct a de novo determination of

           probable cause, but only to determine whether there is substantial evidence in the

           record supporting the magistrate judge’s decision to issue the warrant, Massachusetts

           v. Upton, 466 U.S. 727, 728 (1984), affording “great deference to judicial determination

           of probable cause to issue a search warrant.” Robinson, 62 F.3d at 1331 (citing

           Gonzalez, 940 F.2d at 1419). Courts reviewing the legitimacy of search warrants

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           should not interpret supporting affidavits in a hypertechnical manner; rather, a realistic

           and commonsense approach should be employed so as to encourage recourse to the

           warrant process and to promote the high level of deference traditionally given to

           magistrates in their probable-cause determinations. Gates, 462 U.S. at 236-37 (citing

           United States v. Ventresca, 380 U.S. 102, 109 (1965)); see also United States v. Miller,

           24 F.3d 1357, 1361 (11th Cir. 1994). As the Supreme Court has instructed, “[a]lthough

           in a particular case it may not be easy to determine when an affidavit demonstrates the

           existence of probable cause, the resolution of doubtful or marginal cases in this area

           should be largely determined by the preference to be accorded to warrants.” Upton,

           466 U.S. at 734 (quoting Ventresca, 380 U.S. at 109); see also United States v.

           Gonzalez-Perez, 283 Fed. Appx. 716, 721 (11th Cir. June 24, 2008) (holding that “the

           practical nature of the magistrate’s decision justifies ‘great deference’ upon review and

           calls for upholding the magistrate’s findings even in marginal or doubtful cases”)

           (citing United States v. Nixon, 918 F.2d 895, 900 (11th Cir. 1990)).

                 In this case, the search warrant was supported by probable cause based upon the

           following facts. First and foremost, when Ponder was legitimately on the front porch

           in attempting to conduct the knock-and-talk, he smelled raw or fresh marijuana

           emanating from the house. The smell of marijuana alone gave rise to probable cause.

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           See Tobin, 923 F.2d at 1512 (“There is no doubt that the agent’s suspicions rose to the

           level of probable cause when, as the door stood open, he detected what he knew from

           his law enforcement experience to be the odor of marijuana.”); see also United States

           v. Johnson, 445 Fed. Appx. 311, 313 (11th Cir. Oct. 29, 2011) (“Our case law

           establishes that if a police officer detects the odor of marijuana, this gives rise to

           probable cause. . . .” ). Cf. United States v. Lueck, 678 F.2d 895, 903 (11th Cir. 1982)

           (“[T]he recognizable smell of marijuana gives rise to probable cause supporting a

           warrantless search.”).

                 In addition to the odor of marijuana coming from the house, the agents’

           observation of black window coverings similar to the kind located at the other grow

           houses, and their hearing music, similar to the music heard at other locations, fortifies

           the conclusion that ample probable cause existed to support the search warrant of

           436 Hood Road. Cf. United States v. Roberts, 747 F.2d 537, 544 (9th Cir. 1984)

           (affirming probable-cause finding in part due to frost-free garage roof and covered

           windows suggesting marijuana grow operation). These facts, coupled with the facts

           known by law enforcement which allowed entry onto the property to conduct a

           knock-and-talk, provided sufficient probable cause to authorize the issuance of the

           search warrant for 436 Hood Road.

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                  As a result, the search warrant properly issued for a search of 436 Hood Road.

                         3.     Probable cause to arrest Paul Bunch

                                a.     Contentions of the parties

                  In his initial motions and briefs, Bunch argued that there was no probable cause

           to arrest him. [Doc. 147 at 5, Doc. 205 at 6-9].21 In the post-evidentiary hearing brief,

           Bunch did not directly argue that he was arrested without probable cause, [see generally

           Doc. 422], but he does argue that his ownership of 436 Hood Road provided

           insufficient evidence to establish that he knew marijuana was being grown in that

           location. [Id. at 26].

                  In response, the government argues that the accumulated evidence developed by

           the police prior to Bunch’s arrest gave rise to probable cause. [Doc. 445 at 15]. It

           argues that the following facts demonstrate probable cause: Bunch’s close relationship

           with his co-defendants, particularly the Whortons and their companies; the substantial

           similarities between the grow houses (maintaining ownership of the grow houses in

           different names, similar cultivation process structure in each grow house, items which

           were located but not seized from 925 Hemphill Road were again located in

                  21
                          He also argued that his arrest was the fruit of the poisonous tree as a result
           of the illegal search of 436 Hood Road. However, as the Court has concluded, Bunch
           had no standing to challenge that search and in any event, the search was lawful.

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           436 Hood Road); and evidence (the payment letter) indicating that Bunch had been

           present inside 436 Hood Road. [Id. at 16-17].

                               b.    Discussion

                 Probable cause supported Bunch’s arrest. The government bears the burden to

           demonstrate the legality of a warrantless arrest. Welsh v. Wisconsin, 466 U.S. 740, 749-

           50 (1984); Tobin, 923 F.2d at 1521 & n.21. A warrantless arrest is constitutionally

           valid only when there is probable cause to arrest. See United States v. Watson,

           423 U.S. 411, 417 (1976); United States v. Costa, 691 F.2d 1358, 1361 (11th Cir. 1982).

           Probable cause exists if, “at the moment the arrest was made, ‘the facts and

           circumstances within [the officers’] knowledge and of which they had reasonably

           trustworthy information were sufficient to warrant a prudent man in believing’ that [the

           suspect] had committed or was committing an offense.” United States v. Floyd,

           281 F.3d 1346, 1348 (11th Cir. 2002); Gonzalez, 969 F.2d at 1002. “Probable cause

           does not require the same type of specific evidence of each element of the offense as

           would be needed to support a conviction.” Adams v. Williams, 407 U.S. 143, 149

           (1972). In determining whether probable cause exists, the Court “ ‘deal[s] with

           probabilities . . . [which] are the factual and practical considerations of everyday life

           on which reasonable and prudent men, not legal technicians, act.’ ” Gates, 462 U.S.

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           at 229-31 (quoting Brinegar, 338 U.S. at 175). “The substance of all the definitions of

           probable cause is a reasonable ground for belief of guilt, and that the belief of guilt

           must be particularized with respect to the person to be searched or seized.” Maryland

           v. Pringle, 540 U.S. 366, 371 (2003) (internal punctuation marks and citations

           omitted). In this regard, “a person’s mere propinquity to others independently

           suspected of criminal activity does not, without more, give rise to probable cause to

           [arrest] that person.” Ybarra v. Illinois, 444 U.S. 85, 91 (1979); Holmes v. Kucynda,

           321 F.3d 1069, 1081 (11th Cir. 2003).

                 At the same time, an officer is not required to resolve all inferences and all

           factual conflicts in favor of the suspect. An officer’s decision to arrest a suspect may

           be objectively reasonable even though that officer has not specifically discarded every

           possible non-criminal explanation for the conduct that forms the basis for her decision

           to arrest a suspect.   Bailey v. Board of Cnty. Com’rs of Alachua Cnty., Fla.,

           956 F.2d 1112, 1120 n.5 (11th Cir. 1992); United States v. Pantoja-Soto, 739 F.2d 1520,

           1523-24 (11th Cir. 1984). Moreover, when a group of officers is conducting an

           operation and there exists at least minimal communication between them, their

           collective knowledge is determinative of probable cause. United States v. Goddard,




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           312 F.3d 1360, 1362 (11th Cir. 2002); United States v. Wilson, 894 F.2d 1245, 1254

           (11th Cir. 1992); United States v. Esle, 743 F.2d 1465, 1476 (11th Cir. 1984).

                 The Court’s focus must be not upon each fact in isolation but “ ‘the sum total of

           layers of information and the synthesis of what the police have heard, what they know,

           and what they observe as trained officers.’ ” Wilson, 894 F.2d at 1254 (quoting United

           States v. Clark, 559 F.2d 420, 424 (5th Cir. 1977), and Smith v. United States,

           358 F.2d 833, 837 (D.C. Cir. 1966)). To determine whether an officer had probable

           cause to arrest an individual, the Court examines the events leading up to the arrest, and

           then decides “whether these historical facts, viewed from the standpoint of an

           objectively reasonable police officer, amount to” probable cause.                Pringle,

           540 U.S. at 371 (quoting Ornelas v. United States, 517 U.S. 690, 696 (1996)). Finally,

           probable cause “ ‘must be judged not with clinical detachment, but with a common

           sense view to the realities of normal life.’ ” Craig v. Singletary, 127 F.3d 1030, 1042

           (11th Cir. 1997) (quoting Wilson v. Attaway, 757 F.2d 1227, 1236 (11th Cir. 1985)).

                 The facts known by the police at the time of Bunch’s arrest satisfied the probable

           cause standard. At the time Dailey arrested Bunch, the police had already discovered

           a series of marijuana grow houses containing sophisticated marijuana cultivation

           systems. In earlier surveillance and seizures, police had located assets of Old South

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           Amusements, of which Bunch was secretary, being used to further the grow house

           operations. Employees of Old South and a related business were found to have been

           involved in maintaining the grow houses.         In addition, the investigation had

           demonstrated that Joshua McCullough was involved in the maintaining of grow houses,

           and that persons associated with him and his businesses also were involved in

           cultivating marijuana. A search of McCullough’s business revealed a purported

           agreement by McCullough to purchase 436 Hood Road in September 2010, which

           when searched was found to be a marijuana grow house, but the premises were recently

           purchased and currently owned by Bunch as of November 1, 2010. A truck registered

           to one of McCullough’s businesses was searched at McCullough’s Backwoods Bar and

           Grill and was found to contain items which were observed, but not seized, when a

           search warrant was executed at an earlier grow house at 925 Hemphill Road. The

           mortgage statement found at 436 Hood Road, addressed to Bunch at his home address

           but pertaining to the 436 Hood Road property, allowed law enforcement to infer that

           Bunch was present in the location sometime between November 1 and the date of the

           search on December 8, 2010.22 The documents from the Park Avenue Bank, which had

                 22
                         At oral argument, Bunch conceded that a legitimate inference of Bunch’s
           physical presence inside the location could be drawn from the discovery of the payment
           letter in 436 Hood Road. [See Doc. 500].

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           creases similar to those one would find in a document which had been inside an

           envelope, showed that Bunch borrowed $92,000 to finance his purchase of 436 Hood

           Road. Gov’t. Exs. 4 at 4540, 4541. The entire premises was chock-filled with supplies

           to support a marijuana grow house. See Gov’t Ex. 4 at 167 et seq. During the

           December 8, 2010, search 436 Hood Road, law enforcement also discovered other

           items that had been found in but not seized from the Hemphill grow house on

           November 3, 2010. Although the record does not reflect where in the premises the loan

           documents were located, their presence reasonably leads to the inference that Bunch

           brought them there during what had to be a huge undertaking, involving numerous

           people and multiple hours, to stock 436 Hood Road between November 1 and

           December 8 with all of the equipment and supplies necessary to re-establish a grow

           house. Thus, it is more than reasonable to infer from these facts Bunch’s involvement

           in the grow house operation at 436 Hood Road, which demonstrates that he was more

           likely than not a member in the conspiracy to manufacture marijuana, over and above

           his bare ownership of the property.




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                        4.    Voluntariness of Bunch’s post-arrest statements

                              a.     Contentions of the parties

                 Bunch contends that some or all of his post-arrest statements should be

           suppressed from his trial because the statements were obtained after he invoked his

           right to counsel pursuant to Miranda v. Arizona, 384 U.S. 436 (1984).23 He first argues

           that he invoked his right to counsel immediately upon being placed in

           custody. [Doc. 422 at 9]. If the Court has framed his argument accurately, Bunch’s

           claim is based on his contention that Dailey testified that the event triggering Bunch’s

           invocation of his right to counsel was Dailey’s telling him that he found a marijuana



                 23
                        Bunch describes these post-arrest statements as follows:

                 1.     When standing on the driveway outside the Whortons’ house, Dailey
                        asked Bunch which house was his, and he replied the other one;

                 2.     Bunch stated he did not live at 436 Hood Road;

                 3.     Bunch stated he rented 436 Hood Road to “Ira”but did not know his last
                        name; and

                 4.     Bunch stated the paperwork corroborating his statements about the lease
                        was in his house.

           [Doc. 422 at 8]. He also alleges that Dailey’s question as to the presence of any other
           persons in the house (to which Bunch responded in the negative) also was made after
           his invocation. [Id. at 13].

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           grow house at 436 Hood Road, and since Dailey testified inconsistently about when he

           advised Bunch about finding the grow house, the Court should find that he told him

           about the grow house at the time Dailey advised Bunch he had just come from

           436 Hood Road. [Id. at 4, 7-10 (contrasting Dailey’s testimony at T3:130 with his

           testimony at T3:131)].

                 He next argues that, even if Bunch did not invoke until a later point in time,

           Dailey’s testimony that Bunch was allowed to continue to walk towards his home,

           despite being under arrest, is not credible and thus Bunch’s movement toward the house

           must have been the product of some post-invocation “prodding or other interrogation

           or functional equivalent” by the officers. [Id. at 12]. He further argues that Bunch’s

           statement that his keys were in his pocket “must, given the context, have been in

           response to interrogation,” as was his purported identification of the key to the front

           door. [Id. at 12-13]. And, although he recognizes that the question about the presence

           of any other persons in the residence was related to officer safety, Bunch argues it was

           improper because it followed his invocation and a response could contain incriminating

           information. [Id. at 13-14]. Finally, Bunch argues that his statement that the lease

           agreement was upstairs in his bedroom safe was the result of, if not verbal prompting,




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           the circumstances of being handcuffed and surrounded by numerous officers in the

           foyer of his home. [Id. at 14].

                 In response, the government argues that all of Bunch’s statements were voluntary

           and not in response to custodial interrogation. [Doc. 445 at 18-21].

                               b.     Discussion

                 The government bears the burden of showing that the defendant’s in-custody

           statements were obtained in compliance with the dictates of Miranda and were

           otherwise voluntary. Missouri v. Seibert, 542 U.S. 600, 608 n.1 (2004); Colorado v.

           Connelly, 479 U.S. 156, 168 (1986); Miranda, 384 U.S. at 475. Under Miranda,

           “evidence obtained as a result of a custodial interrogation is inadmissible unless the

           defendant had first been warned of his rights and knowingly waived those rights.”

           United States v. Parr, 716 F.2d 796, 817 (11th Cir. 1983).

                 The Supreme Court in Miranda held that in order fully to apprise a person

           interrogated of the extent of his rights,

                 it is necessary to warn him not only that he has the right to consult with
                 an attorney, but also that if he is indigent a lawyer will be appointed to
                 represent him. Without this additional warning, the admonition of the
                 right to consult with counsel would often be understood as meaning only
                 that he can consult with a lawyer if he has one or has the funds to obtain
                 one. The warning of a right to counsel would be hollow if not couched in
                 terms that would convey to the indigent the person most often subjected

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                 to interrogation the knowledge that he too has a right to have counsel
                 present. As with the warnings of the right to remain silent and of the
                 general right to counsel, only by effective and express explanation to the
                 indigent of this right can there be assurance that he was truly in a position
                 to exercise it.

           Miranda, 384 U.S. at 473 (footnotes deleted).

                 The Supreme Court has held that Miranda warnings that convey the substance

           of the suspect’s rights are sufficient. See Duckworth v. Eagan, 492 U.S. 195, 210-15

           (1989). In Duckworth, the Court held:

                 We have never insisted that Miranda warnings be given in the exact form
                 described in that decision. In Miranda itself, the Court said that “[t]he
                 warnings required and the waiver necessary in accordance with our
                 opinion today are, in the absence of a fully effective equivalent,
                 prerequisites to the admissibility of any statement made by a defendant.”
                 384 U.S. at 476 . . . . See also Rhode Island v. Innis, 446 U.S. 291, 297[ ]
                 (1980) (referring to “the now familiar Miranda warnings . . . or their
                 equivalent”). In California v. Prysock, 453 U.S. 355[ ] (1981)
                 (per curiam), we stated that “the ‘rigidity’ of Miranda [does not] exten[d]
                 to the precise formulation of the warnings given a criminal defendant,”
                 and that “no talismanic incantation [is] required to satisfy its strictures.”
                 Id. at 359[ ].

           Duckworth, 492 U.S. at 203.

                 Thus, a suspect’s Miranda rights need not be perfect if the defendant understands

           that he or she need not speak to the police, that any statement made may be used against

           him or her, that he or she has a right to an attorney, and that an attorney will be



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           appointed if he or she cannot afford one.          See United States v. Hernandez,

           93 F.3d 1493, 1502 (10th Cir. 1996). However, the substance of critical features of the

           Miranda warnings still must be conveyed to the in-custody defendant. For example,

           in United States v. Street, 472 F.3d 1298, 1312 (11th Cir. 2006), the Eleventh Circuit

           held that the failure to advise a suspect that any statement he made could be used

           against him was fatal to the subsequently made statements.

                 Under Miranda, “the prosecution may not use statements, whether exculpatory

           or inculpatory, stemming from custodial interrogation of the defendant unless it

           demonstrates the use of procedural safeguards effective to secure the privilege against

           self-incrimination.”    Miranda, 384 U.S. at 444; United States v. Arbolaez,

           450 F.3d 1283, 1292 (11th Cir. 2006).

                 On the other hand, a defendant bears the burden of establishing that he was in

           custody and that his statements were made in response to government questioning.

           United States v. de la Fuente, 548 F.2d 528, 533 (5th Cir. 1978) (recognizing that “if a

           defendant shows that a confession was obtained while he was under custodial

           interrogation, the government then has the burden of proving that the defendant

           voluntarily waived his privilege against self-incrimination.”); United States v. Charles,

           738 F.2d 686, 692 (5th Cir. 1984), overruled on other grounds, United States v.

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           Bengivenga, 845 F.2d 593 (5th Cir. 1988). Thus, for example, spontaneous statements

           made before Miranda warnings are given are not required to be suppressed. Miranda,

           384 U.S. at 478; United States v. Glen-Archila, 677 F.2d 809 (11th Cir. 1982).

                 A defendant is “in custody” for Miranda purposes when there “is a formal arrest

           or restraint on freedom of movement of the degree associated with a formal arrest.”

           California v. Beheler, 463 U.S. 1121, 1125 (1983) (citation omitted); United States v.

           Jayyousi, 657 F.3d 1085, 1126 (11th Cir. 2011); see also United States v. McDowell,

           250 F.3d 1354, 1362 (11th Cir. 2001). “Interrogation” under Miranda refers not only

           to express questioning, but also to any words or actions on the part of the police (other

           than those normally attendant to arrest and custody) that the police should know are

           reasonably likely to elicit an incriminating response from the suspect. Rhode Island v.

           Innis, 446 U.S. 291, 301 (1980).

                 The government must prove by a preponderance of the evidence that the

           defendant waived his Miranda rights knowingly and voluntarily. United States v.

           Glover, 431 F.3d 744, 748 (11th Cir. 2005). A valid waiver will not be presumed

           simply from the silence of the accused after warnings are given or simply from the fact

           that a confession was in fact eventually obtained. Miranda, 384 U.S. at 475. An

           accused effectively waives his Miranda rights if he: (1) voluntarily relinquishes them

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           as the product of a free and deliberate choice, rather than through intimidation, coercion

           or deception; and (2) makes his decision with a full awareness of both the nature of the

           rights being abandoned and the consequences of the decision to abandon them. United

           States v. Barbour, 70 F.3d 580, 585 (11th Cir. 1995). A waiver is effective where the

           totality of the circumstances reveals both an uncoerced choice and the requisite level

           of comprehension.         United States v. Wright, 300 Fed. Appx. 627, 632

           (11th Cir. Nov. 12, 2008) (citing Barbour, 70 F.3d at 585).

                 First, it is undisputed that Bunch was in custody when Dailey handcuffed him

           and told him he was under arrest for manufacturing marijuana. Cf. United States

           v. Gomes, 279 Fed. Appx. 861, 868 (11th Cir. May 29, 2008) (recognizing relevant

           factors to determine custody include whether the suspect was physically restrained or

           told he was under arrest).

                 Second, the Court disagrees with Bunch that Dailey testified inconsistently as to

           when he advised Bunch of the grow house. Dailey did not advise Bunch that a grow

           house was located at 436 Hood Road until he and Bunch were walking towards

           Bunch’s residence. Prior to that point, Dailey had only (and consistently) testified that

           he had been to that address and Bunch was under arrest for manufacturing marijuana.

           See T3:96 (“I placed handcuffs on Mr. Bunch and I told him we had just left

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           436 Hood Road and that he was under arrest for manufacturing marijuana.”);

           T3:130 (“Once he came down the steps, we walked to the little driveway area, he was

           placed in handcuffs. Just left 436 Hood Road, he was under arrest for manufacturing

           marijuana.”); T3:131 (“Q. Even though you had told him he was being placed under

           arrest for the grow house at 436 Hood Road and that you have the right to remain silent

           and all of those other things? A. I didn’t tell him about the grow house. I told him he

           was under arrest for manufacturing marijuana.”). As a result, the Court rejects Bunch’s

           argument that the testimony shows that Bunch invoked his right to counsel immediately

           upon being arrested or advised of his Miranda rights. The Court accepts as credible

           Dailey’s totally consistent and uncontradicted testimony as to when he advised Bunch

           of finding a grow house and the sequence of events as to Bunch’s invocation of his

           right to counsel.

                 Third, the Court addresses an issue that Bunch touches on in his brief but does

           not expound upon. [See Doc. 422 at 4 (“. . . Dailey failed to ask Bunch if he

           affirmatively waived his Miranda rights.”). Under Eleventh Circuit law, a suspect’s

           waiver of Miranda rights is viewed in light of the totality of the circumstances.

           Barbour, 70 F.3d at 585. The Court has not been directed to any authority, nor has it

           discovered any on its own, that demonstrates that the Eleventh Circuit has adopted or

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           chosen to follow the rule apparently in force in at least the First Circuit, that is, that

           “[m]erely asking the accused whether he understood his rights does not satisfy the

           duties of an interrogating officer or make any statement the accused might then make

           admissible. Miranda requires the interrogating officer to go further and make sure that

           the accused, knowing his rights, voluntarily relinquishes them.” United States v.

           Porter, 764 F.2d 1, 7 (1st Cir. 1985); see United States v. Earle, 473 F. Supp. 2d 131,

           136-37 (D. Mass. 2005); see also Davie v. Mitchell, 547 F.3d 331-32 (6th Cir. 2008)

           (citing Porter). This per se rule runs counter to the totality-of-the-circumstances test

           formulated by the Supreme Court and followed by the Eleventh Circuit. See North

           Carolina v. Butler, 441 U.S. 369, 373 (1979) (noting that explicit waiver of right to

           counsel is not constitutionally mandated and holding that “defendant’s silence, coupled

           with an understanding of his rights and a course of conduct indicating waiver, may [ ]

           support a conclusion that a defendant has waived his rights. The courts must presume

           that a defendant did not waive his rights; the prosecution’s burden is great; but in at

           least some cases waiver can be clearly inferred from the actions and words of the

           person interrogated.”); Barbour, 70 F.3d at 585. Thus, Dailey’s failure to ask Bunch

           if he waived his rights is not fatal to a conclusion that, under the totality of the

           circumstances, Bunch knowingly and voluntarily waived his Miranda rights.

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                 In this case, the totality of the circumstances demonstrates Bunch’s knowing and

           voluntary waiver of his Miranda rights. He was advised of his rights and stated that he

           understood them. Also, he evidently understood his rights because he exercised his

           right to speak with an attorney after Dailey told him that law enforcement located a

           grow house at his rental property. Finally, his waiver of those rights is similarly

           established by the fact that he answered Dailey’s initial questions and then invoked his

           right to counsel in response to a subsequent inquiry. See United States v. Andaverde,

           64 F.3d 1305, 1313 (9th Cir. 1995) (implying waiver where a defendant did not invoke

           his rights, then initiated a conversation, and later did invoke his rights).

                 Fourth, even if Bunch did not effectively waive his Miranda rights because

           Dailey did not expressly ask him whether he waived his rights, the statements are not

           subject to exclusion. Dailey’s asking Bunch which house was his would fall under the

           booking exception to Miranda. See Pennsylvania v. Muniz, 496 U.S. 582, 601-02

           (1990); United States v. Sweeting, 933 F.2d 962, 965 (11th Cir. 1991) (“An officer’s

           request for routine information for booking purposes is not an interrogation under

           Miranda. . . .”) (internal quotation marks and citations omitted). Thus, the Eleventh

           Circuit has recognized that responses to an officer’s request for his address was

           admissible when there was no evidence that the question was intended to elicit an

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           incriminating response.     Sweeting, 933 F.2d at 965; see also United States v.

           Brotemarkle, 449 Fed. Appx. 893, 896-97 (11th Cir. Dec. 29, 2011). Moreover,

           although the routine-booking exception is “phrased in terms of the officer’s intention,

           the inquiry into whether [it] is thus inapplicable is actually an objective one: whether

           the questions and circumstances were such that the officer should reasonably have

           expected the question to elicit an incriminating response.” United States v. Reyes,

           225 F.3d 71, 76-77 (1st Cir. 2000). Questions normally attendant to arrest and custody

           do not constitute interrogation for Miranda purposes. Innis, 446 U.S. at 301; South

           Dakota v. Neville, 459 U.S. 553, 564 n.15 (1983); see also United States v. Fletcher,

           No. 3:11-00083-15, 2012 WL 5963439, at *10 (M.D. Tenn. Nov. 28, 2012) (“[R]outine

           on the scene questions as to name and addresses . . . are not interrogation for Miranda

           purposes.”).

                    In the present case, viewed objectively, Dailey’s question as to which house

           Bunch lived in was not likely to elicit an incriminating response, and in fact, Bunch’s

           statement that he lived in the other house was not incriminating. His incriminating

           statements as to that residence did not come until he volunteered information about it

           later.




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                 Fifth, Bunch’s next statements—that he did not live at 436 Hood Road but rather

           he rented the property to a person named “Ira,” that he did not remember Ira’s last

           name, and that he had the paperwork at his house, T3:99, 101, 132-33—were not made

           in response to custodial interrogation but were instead spontaneous statements

           unprompted by any questioning or conduct by Dailey.               Cannady v. Dugger,

           931 F.2d 752, 754 (11th Cir. 1991).        In addition, Dailey’s initial statement to

           Bunch—that he had just come from 436 Hood Road and that Bunch was under arrest

           for manufacturing marijuana—is not the type of statement that constitutes the

           functional   equivalent    of   interrogation.     See   United    States   v.   Suarez,

           162 Fed. Appx. 897, 902 (11th Cir. Jan. 17, 2006) (ruling that officer’s statement

           regarding why he was arresting suspect was not the functional equivalent of

           interrogation).

                 Sixth, Dailey’s asking Bunch if he (Dailey) could get the paperwork concerning

           the lease (and Bunch’s affirmative response) are not subject to exclusion because the

           Eleventh Circuit has held that a consent to search is not an incriminating statement for

           purposes of a suspect’s Fifth Amendment rights, United States v. Hidalgo,

           7 F.3d 1566, 1568 (11th Cir. 1993), nor is it a critical stage of the criminal proceeding

           to which the Sixth Amendment right to counsel attaches. Id. at 1568-70.

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                 Seventh, Bunch’s statement that the keys were in his front pocket, T3:103, 138,

           was both a spontaneous statement outside Miranda’s coverage, and related to his

           consent to search for the 436 Hood Road lease. Eighth, Dailey’s question whether

           Bunch minded if he retrieved the keys from his pocket, likewise is not rendered

           inadmissible by Bunch’s prior invocation, because it related to the consent to search.

           Cf. Hidalgo, 7 F.3d at 1568 (request to consent to search after defendant invoked right

           to remain silent did not constitute interrogation). Ninth, Bunch’s telling Dailey which

           which key opened the front door, T3:103-04, 138, is not subject to exclusion under

           Miranda because it was a spontaneous statement and similarly related to the consent

           to search. Tenth, Dailey asking whether anyone else was present in the house did not

           violate Miranda because it fell within the public-safety exception announced in

           New York v. Quarles, 467 U.S. 649 (1984), and found to be applicable in cases

           involving an officer’s question about the presence of other persons. The public safety

           exception extends to concerns for officer safety, United States v. Mendoza,

           333 F. Supp. 2d 1155, 1161 (D. Utah 2004), and the presence of other persons lurking

           in an unlighted building presents a danger to entering officers. United States v.

           Dominguez,       No.    11-CR-0129-CVE,          2011     WL     4857867,      at   *3

           (N.D. Okla. Oct. 13, 2011) (“It was reasonable [for] Griffin to inquire about the

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           presence of other persons in the home, because other occupants of the home could have

           posed a danger to police officers. . . . Although there is no evidence of exigent

           circumstances, the Court finds that Griffin asked about the presence of other people in

           the house for the purpose of officer safety and not to elicit an incriminating response,

           and defendant’s response to Griffin’s question should not be suppressed.”) (citations

           omitted); United States v. Ross, Criminal No. 05-398-1,            2006 WL 938535,

           at *10 & n.4 (E.D. Pa. Apr. 4, 2006) (“The facts in this case demonstrate that the

           question of whether other people were in the Madison Street house was asked out of

           concern for the safety of the officers.”) (citing state cases).

                 As a result, Bunch is not entitled to suppression of his post-arrest statements.24

                 24
                         Although not addressed by the motions, the Court also concludes the
           post-arrest statements were voluntary. The focus of the voluntariness inquiry is on
           whether the defendant was coerced by the government into making a statement: “The
           relinquishment of the right must have been voluntary in the sense that it was the
           product of a free and deliberate choice rather than intimidation, coercion or deception.”
           Colorado v. Connelly, 479 U.S. 157, 170 (1986) (citation omitted). The Court must
           consider the totality-of-the-circumstances in assessing whether police conduct was
           “causally related” to the confession. Miller v. Dugger, 838 F.2d 1530, 1536
           (11th Cir. 1988). This totality of the circumstances test directs the Court ultimately to
           determine whether a defendant’s statement was the product of “an essentially free and
           unconstrained choice.” United States v. Garcia, 890 F.2d 355, 360 (11th Cir. 1989).
           Among the factors the Court must consider are the defendant’s intelligence, the length
           of his detention, the nature of the interrogation, the use of any physical force against
           him, or the use of any promises or inducements by police. See Schneckloth v.
           Bustamonte, 412 U.S. 218, 226 (1973); United States v. Gonzalez, 71 F.3d 819, 828

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                        5.     Consent to search 1850 Flat Rock Road

                               a.     Contentions of the parties

                 The government argues that Bunch voluntarily consented to allow the police to

           enter his home and obtain the lease to 436 Hood Road. [Doc. 445 at 21]. It also argues

           that even if consent was lacking or was withdrawn, the items seized from the residence

           would have been authorized by inevitable discovery. [Id. at 22]. In his earlier filing,

           Bunch argued that his consent for law enforcement to enter the 1850 Flat Rock Road

           home was not voluntary, [Doc. 147 at 6-7], but he did not directly address consent in

           his post-evidentiary hearing brief because the gist of his arguments there was that his




           (11th Cir. 1996). However, while the Eleventh Circuit has “enumerated a number of
           (non-exclusive) factors that may bear on the issue of voluntariness, the absence of
           official coercion is a sine qua non of effective consent . . . .” Gonzalez, 71 F.3d at 828
           (citations omitted). Sufficiently coercive conduct normally involves subjecting the
           accused to an exhaustingly long interrogation, the application of physical force or the
           threat to do so, or the making of a promise that induces a confession. See Connelly,
           479 U.S. at 163 n.1; Miller, 838 F.2d at 1536; United States v. Castaneda-Castaneda,
           729 F.2d 1360, 1362-63 (11th Cir. 1984).

                  In this case, the encounter between Bunch and the officers was relatively brief.
           Although he was handcuffed, there is no evidence that Bunch was patted down or
           searched, or otherwise touched. No threats of physical force were made, and he was
           not promised any inducements to make him give a statement or answer questions. As
           a result, his statements were voluntary.

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           invocation     of    his   right    to   counsel     vitiated    any    consent     to

           search. [See generally Doc. 422].

                               b.     Discussion

                 “It is a ‘basic principle of Fourth Amendment law’ that searches and seizures

           inside a home without a warrant are presumptively unreasonable.’ ” Bashir v. Rockdale

           Cnty., Ga., 445 F.3d 1323, 1327 (11th Cir. 2006) (quoting Payton v. New York, 445 U.S.

           573, 586 (1980)). An individual may provide consent for law enforcement to enter and

           search a home without a warrant. Id. at 1328 (citing Illinois v. Rodriguez, 497 U.S.

           177, 181 (1990)). “In order for consent to a search to be deemed voluntary, it must be

           the product of an essentially free and unconstrained choice.” United States v. Garcia,

           890 F.2d 355, 360 (11th Cir. 1989). In considering whether a consent to search was

           voluntary, the Court must examine the totality of the circumstances. United States v.

           Acosta, 363 F.3d 1141, 1151 (11th Cir. 2004); United States v. Tovar-Rico, 61 F.3d

           1529, 1535 (11th Cir. 1995); see also Gonzalez, 71 F.3d at 828-32 (illustrating factors

           properly to be considered in totality-of-the-circumstances inquiry). Further, “‘[t]he

           government bears the burden of proving . . . that the consent was not a function of

           acquiescence to a claim of lawful authority but rather was given freely and

           voluntarily.’ ” Hidalgo, 7 F.3d at 1571 (quoting United States v. Blake, 888 F.2d 795,

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           798 (11th Cir. 1989)). The absence of official coercion is a sine qua non of effective

           consent, as it is axiomatic that “[w]here there is coercion, there cannot be consent.”

           Gonzalez, 71 F.3d at 828 (quoting Bumper v. North Carolina, 391 U.S. 543, 550

           (1968)); see also Florida v. Bostick, 501 U.S. 429, 438 (1991) (“ ‘Consent’ that is the

           product of official intimidation . . . is not consent at all.”).

                  The Eleventh Circuit has, on prior occasions, identified a non-exhaustive list of

           relevant factors to consider when making the assessment of whether consent to a

           warrantless search is voluntary: voluntariness of the defendant’s custodial status, the

           presence of coercive police procedures, the extent and level of the defendant’s

           cooperation with police, the defendant’s awareness of his right to refuse to consent to

           the search, the defendant’s education and intelligence, and, significantly, the

           defendant’s belief that no incriminating evidence will be found.                     Blake,

           888 F.2d at 798-99. However, the failure to advise the defendant of his right to refuse

           to consent will not invalidate an otherwise valid consent to search. United States v.

           Pineiro, 389 F.3d 1359, 1366 n.4 (11th Cir. 2004); United States v. Zapata,

           180 F.3d 1237, 1242 (11th Cir. 1999).

                  In this case, the Court finds that the totality of the circumstances establishes that

           Bunch voluntarily consented to a search of his residence. Although he was under

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           arrest, the only physical force used against him was being handcuffed, and there is no

           evidence of any coercive conduct on the part of law enforcement. See United States v.

           Jones, 475 F.2d 723, 730 (5th Cir. 1973) (“In any arrest there is present a degree of

           duress. The question is whether the officers used coercive tactics or took unlawful

           advantage of the arrest situation to obtain the consent. In other words, was there a use

           of coercive tactics by the arresting officers such that the duress present in a particular

           case exceeds the normal duress inherent in any arrest?”). As noted previously, Bunch

           was not searched or patted down, and even if Dailey placed his hands upon Bunch at

           any time prior to entering the master bedroom, such contact was minimal. The record

           contains no evidence of any deceptive police procedures. (Dailey’s asking Bunch to

           step outside of the Whortons’ house because he wanted to speak with him—rather than

           asking him to step outside so that Dailey could arrest him—is not the sort of deceptive

           police procedures that adversely affect a finding of voluntary consent.) Next, Bunch

           was extremely cooperative with Dailey, telling him that he possessed the lease to

           436 Hood Road in his house. Although Bunch was not advised of his right to refuse

           to consent to the search, that is not a determinative factor under Eleventh Circuit law.

           In addition, although the record does not indicate Bunch’s education level and

           intelligence, the record does show that he was the corporate secretary for at least one

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           business and used a written lease to rent out 436 Hood Road. Moreover, Bunch

           apparently believed that the lease agreement exculpated him from responsibility for the

           grow operation at 436 Hood Road, and therefore, he volunteered the facts that he rented

           it to “Ira” and had the lease in his home. All of these factors point to a finding that

           Bunch voluntarily consented to law enforcement’s entry into his home.

                 One other consideration deserves discussion. A person may impliedly give

           consent to a search through body language. See United States v. Ramirez-Chilel,

           289 F.3d 744, 750, 752 (11th Cir. 2002) (holding that the defendant had consented to

           the officers’ entry by yielding the right-of-way at his door); see also United States v.

           Chrispin, 181 Fed. Appx. 935, 939 (11th Cir. May 26, 2006) (“In the present case,

           although Chrispin did not express his verbal assent to be searched, his body

           language—turning away from Officer Lorente and placing his hands on the police

           cruiser as if preparing to be searched—gave implied consent.”). It is undisputed that

           after being placed under arrest and identifying his residence for Dailey, Bunch began

           walking towards his residence. Bunch argues that this testimony is incredulous but it

           also is undisputed. He voluntarily disclosed that the lease to 436 Hood Road was in his

           house, and subsequently, that it was in the safe in his master bedroom. Bunch

           reasonably but incorrectly could have perceived that a written lease agreement could

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           absolve him from responsibility for the grow house at 436 Hood Road, and thus desired

           to show it to Dailey. In this regard, he voluntarily explained that the keys to the house

           were in his pants pocket, and then without prompting, pointed out the specific key to

           unlock the door.      None of these actions was the result of police constraint,

           overreaching, or coercion.

                 The totality of the circumstances therefore demonstrates that Bunch voluntarily

           consented to a search of home at 1850 Flat Rock Road for the 436 Hood Road lease.25

                 25
                          Because the Court concludes that Bunch voluntarily consented to the
           officers’ entry into his house to search for the lease, the Court need not discuss in great
           detail the government’s alternative argument that the search is saved by inevitable
           discovery. In Nix v. Williams, 467 U.S. 431 (1984), the Supreme Court recognized that
           evidence obtained by unconstitutional means should not be suppressed “if the
           government can prove that the evidence would have been obtained inevitably and,
           therefore, would have been admitted regardless of any overreaching by the police. . . .”
           Nix, 467 U.S. at 447; United States v. Khoury, 901 F.2d 948, 959-60 (11th Cir. 1990);
           see also United States v. Virden, 488 F.3d 1317, 1322 (11th Cir. 2007) (stating that
           government’s burden was to establish by a preponderance of the evidence that the
           information would have ultimately been recovered by lawful means) (citing Nix,
           467 U.S. at 434). The mere assertion by law enforcement that the information would
           have been inevitably discovered is not enough. Virden, 488 F.3d at 1322 (citing United
           States v. Brookins, 614 F.2d 1037, 1048 (5th Cir. 1980)). Instead, the Eleventh Circuit’s
           rule is that in order to establish inevitable discovery, the prosecution must show that
           “ ‘the lawful means which made discovery inevitable were being actively pursued prior
           to the occurrence of the illegal conduct.’ ” Id. (quoting Jefferson v. Fountain, 382 F.3d
           1286, 1296 (11th Cir. 2004)) (emphasis in original); see also Khoury, 901 F.2d at 960;
           United States v. Drosten, 819 F.2d 1067, 1070 (11th Cir. 1987); United States v.
           Satterfield, 743 F.2d 827, 847 (11th Cir. 1984). “This second requirement is especially
           important. Any other rule would effectively eviscerate the exclusionary rule, because

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                 Because Bunch’s consent was voluntary and Dailey’s initial actions in going up

           the stairs to the master bedroom (where the safe containing the lease was located) and

           turning on the light did not exceed the limitations of that consent, Dailey was entitled

           to rely on any evidence he observed in plain view from his vantage point. The

           “plain-view” doctrine allows the seizure of items where “(1) an officer [was] lawfully

           located in the place from which the seized object could be plainly viewed and [had] a

           lawful right of access to the object itself; and (2) the incriminating character of the item

           is immediately apparent.” United States v. Smith, 459 F.3d 1276, 1290 (11th Cir. 2006).

           For an item’s incriminating character to be “immediately apparent,” the police merely

           need probable cause to believe that the item is contraband.              Texas v. Brown,

           460 U.S. 730, 738, 743 (1983) (plurality op. of Rehnquist, J.).                        The

           “immediately-apparent” prong is viewed objectively.            United States v. Lisbon,


           in most illegal search situations the government could have obtained a valid search
           warrant had they waited or obtained the evidence through some lawful means had they
           taken another course of action.” Virden, 488 F.3d at 1322-23 (citing United States v.
           Hernandez-Cano, 808 F.2d 779, 784 (11th Cir. 1987)).

                  The inevitable-discovery doctrine is inapplicable in this case because at the time
           Bunch consented, that was the only investigative avenue the Henry County Police were
           pursuing. Since there is no showing that the police were actively pursuing a search
           warrant for 1850 Flat Rock Road prior to the entry into the home, the
           inevitable-discovery doctrine does not save the police entry into the home if Bunch did
           not voluntarily consent.

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           835 F. Supp. 2d 1329, 1362 & n.24 (N.D. Ga. 2011) (Thrash, J., adopting Baverman,

           M.J.).

                    At the time of the discovery of the firearms, there was probable cause to believe

           that Bunch was involved in a sophisticated indoor-marijuana-cultivation operation in

           which other participants were found to possess firearms. Dailey and his fellow agents

           were well aware of the connection between firearms and those involved in the drug

           business. United States v. Butcher, 926 F.2d 811, 816 (9th Cir. 1991) (noting “nexus

           between guns and narcotics, and between guns and other guns”); United States v.

           Simon, 767 F.2d 524, 527 (8th Cir. 1985) (“Firearms are known ‘tools of the trade’ of

           narcotics dealing because of the dangers inherent in that line of work.”), cited with

           approval in United States v. Cox, 188 Fed. Appx. 889, 894 (11th Cir. July 7, 2006);

           see also affidavit in support of search warrant for 1850 Flat Rock Road,

           [Doc. 205-6 at 5-6]. Therefore, Dailey was authorized to conclude that the firearms in

           plain view were contraband under the facts of this case.26

                    26
                        Dailey could have continued with his search for the lease pursuant to
           Bunch’s consent and seized the weapons without a warrant. During a legal search, the
           “temporary seizure, unloading, and retention” of a firearm by a “responsible officer,”
           is a “reasonable precaution to assure the safety of all persons on the premises of the
           search,” and alone justifies securing the weapon without a warrant. United States v.
           Malachesen, 597 F.2d 1232, 1234 (8th Cir. 1979); see also United States v. Bishop,
           338 F.3d 623, 626 (6th Cir. 2003) (affirming a temporary seizure on these grounds);

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                        6.    Search of 1850 Flat Rock Road

                              a.     Contentions of the parties

                 In attacking the search warrant for 1850 Flat Rock Road, Bunch first contends

           that there was no probable cause to search for and seize the myriad items listed in the

           warrant, set out at pp.19-20 supra. He alleges that the affiant failed to advise the

           issuing judge that after locating the firearms, the agents performed a security sweep

           during which they observed nothing in plain view to suggest that Bunch was using his

           house to grow, store, or participate in the growing of marijuana in that house or

           elsewhere. [Doc. 422 at 22-23].27 He also argues that the warrant was defective


           United States v. Legg, 18 F.3d 240, 244 (4th Cir. 1994) (same) (noting that “[i]t is a
           hallmark of Fourth Amendment jurisprudence that the possibility of a threat to the
           safety of law enforcement officers may constitute exigent circumstances justifying a
           warrantless search or seizure”); United States v. Arcobasso, 882 F.2d 1304, 1307
           (8th Cir. 1989) (reiterating Malachesen); United States v. Timpani, 665 F.2d 1, 5 n.8
           (1st Cir. 1981) (justifying a seizure of weapons during a search when it “might well
           have been dangerous to leave the weapons” where they were); United States v. Patel,
           No. 2:08-CR-210-WKW, 2010 WL 742983, at *2 (M.D. Ala. Feb. 26, 2010).

                  In addition, “the warrantless seizure of a gun is ‘objectively reasonable’ under
           the Fourth Amendment when there is a real concern for the safety of the officers present
           or the public at large.” United States v. Newsome, 475 F.3d 1221, 1226 (11th Cir. 2007)
           (interpreting New York v. Quarles, 467 U.S. 649, 653 n.3 (1984)). Here the officers
           were dealing with scores of weapons, some of them at least semi-automatic weapons.
                 27
                      Bunch does not make an independent claim that the security (or protective)
           sweep was unauthorized, but in addressing whether probable cause supported the

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           because the supporting affidavit failed to notify the issuing judge that these items were

           not present at the location to be searched or even that a security sweep

           occurred. [Id. at 24].28 He argues that if this information would have been conveyed

           in the affidavit, then there would not have been any connection between Bunch and the

           marijuana and cultivation items found in the other grow houses, leaving only the

           following facts to support the warrant: a single document in 436 Hood Road showing


           warrant for Bunch’s residence, the government argued that the sweep was justified
           because the large number of firearms discovered in plain view in Bunch’s bedroom
           “appeared too great for one person to handle at once, supporting an inference that
           others could be present to ‘operate’ that many firearms.” [Doc. 445 at 23]. The Court
           disagrees that the discovery of firearms in the bedroom authorized a protective sweep
           of the residence. “The Fourth Amendment permits a properly limited protective sweep
           in conjunction with an in-home arrest when the searching officer possesses a reasonable
           belief based on specific and articulable facts that the area to be swept harbors an
           individual posing a danger to those on the arrest scene.” Maryland v. Buie, 494 U.S.
           325, 337 (1990). The Court has found no case authorizing a protective sweep for
           weapons or where, as here, the police do not have specific and articulable facts that area
           to be swept harbors another person. See United States v. Colbert, 76 F.3d 773, 777-78
           (6th Cir. 1996) (protective sweep of apartment after defendant was arrested outside was
           unreasonable as the officers had no information that additional individuals may have
           been present in the apartment); United States v. Hogan, 38 F.3d 1148, 1150
           (10th Cir. 1994) (protective sweep improper where officer had no indication that there
           was any danger from a hidden accomplice). However, because the search warrant
           affidavit did not include any items observed during the protective sweep in this case,
           the Court need not address whether the sweep was lawful.
                 28
                       He also argues that it strains credulity that the officers did not search the
           home in the three hours between the security sweep and the execution of the
           warrant. [Doc. 422 at 24 n.11]. The undisputed evidence is to the contrary. T3:110.

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           that he bought the property before any of the other grow houses were discovered; the

           firearms in the bedroom; his links to others who were involved in the grow houses; and

           his links to Old South. [Id. at 24-25]. He then argues that since owning the house

           where the grow house was located is no evidence that he knew marijuana was being

           grown there (particularly since law enforcement knew that Butler leased it and Bunch

           lived elsewhere), his minimal connection to 436 Hood Road was insufficient to give

           rise to probable cause to search 1850 Flat Rock Road. [Id. at 25]. He then argues that

           there was no indication he could not lawfully possess the firearms, so their presence did

           not supply probable cause to believe he possessed them to protect himself from rival

           drug dealers, home invaders, and police. [Id. at 25-26]. He requests an additional

           evidentiary hearing to present evidence to demonstrate that the affidavit was false, and

           when redacted for the truth, did not satisfy the probable-cause standard. [Id. at 25-26].

                 Bunch next argues that the warrant lacked particularity and as a result amounted

           to a general warrant. In support, he alleges that the warrant authorized seizure of “ ‘all

           fruits of the [unnamed] crime’ ” and “ ‘any other item or substance in violation of [any]

           Georgia law,’ ” which impermissibly would allow the seizure of one thing under a

           warrant describing another. [Id. at 27]. He also contends that the general nature of the

           description is not saved by its particularization as to some items. [Id.].

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                 Bunch next argues that if the items he claims were discovered unlawfully are

           culled from the warrant (i.e., Bunch’s post-arrest statements and Dailey’s observations

           in the residence (the firearms, including his assumptions about the firearms), then there

           was insufficient probable cause to issue the warrant since what was left was Bunch’s

           ownership of 436 Hood Road, which contained several marijuana plants; Bunch’s role

           as a “key operator” at Old South, which was linked to McCullough, who earlier had

           been arrested for manufacturing marijuana; and the arrests of James McKenzie and

           Karry Autry for manufacturing marijuana and their links to Old South. [Id. at 30]. He

           also argues that if his statements and Dailey’s observations of the firearms are added

           back in, the warrant still was lacking probable cause because all of these facts were

           consistent with innocence. [Id. at 31].29

                 The government counters Bunch’s argument—that by conducting a sweep of the

           residence the police already knew that there were no items used to operate a grow

           house—by contending that the police were looking for people, not evidence, and that




                 29
                        Bunch additionally argues that law enforcement could have asked him for
           an explanation of the paper found in his rental property without arresting
           him. [Doc. 422 at 31]. The Court fails to see how addressing scenarios that did not
           occur resolves the legal issues present in this case.

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           the fact that the police did not observe evidence in plain view has no bearing on

           whether the affidavit contained false statements. [Doc. 445 at 24-25].30

                 The government next argues that there was no evidence that in conducting the

           sweep the police “looked ‘in every hiding place for weapons’ ” because the police were

           searching for people, not weapons or other evidence. [Id. at 26]. The government also

           contends that law enforcement’s probable cause to believe that Bunch was connected

           to the other conspirators justified the laundry list of items they sought to find.

           [Id. at 27]. Finally, the government argues that at a minimum, they had probable cause

           to search for more firearms and would have located all of the other items that they

           ultimately discovered when executing the warrant. [Id. at 27 & n.6].

                              b.     Discussion

                 The parties’ briefs and oral arguments raise the following issues pertaining to the

           1850 Flat Rock Road warrant:

                 1.     Was the search warrant supported by probable cause to locate the items

                        identified in the warrant?




                 30
                      The government additionally notes that if the sweep was as intensive as
           Bunch contended, the police would have located the incriminating evidence found
           when the warrant was executed. [Doc. 445 at 25].

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                 2.     Was the search warrant invalid because (i) having swept the house, the

                        officers knew there was no marijuana-grow-house equipment stored there,

                        (ii) it failed to list the one document for which there was probable

                        cause—the lease agreement between Bunch and Butler, and (iii) it was a

                        general warrant?

                 3.     If probable cause was lacking or the warrant lacked particularity or was

                        overly broad, is there Leon good faith?

                                     i.    Probable cause

                 The Court concludes that the warrant was supported by probable cause. While

           the Court is troubled by the fact that the one document that law enforcement knew

           would be located within the residence—the 436 Hood Road lease—was described in

           the affidavit but not included in the search warrant, the Court must remain cognizant

           that the language contained in affidavits are drafted by lay police officers in the

           comparatively “hurried context” of obtaining a warrant. See Gates, 462 U.S. at 236.

           Thus, despite that deficiency, the Court finds that the Henry County Magistrate had a

           substantial basis for concluding that the items sought in the warrant would likely be

           found at the residence.




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                 Initially, the Court rejects Bunch’s arguments that he is entitled to a

           Franks hearing or that items needed to be redacted from the warrant because, as shown,

           Bunch’s statements were lawfully obtained, and he voluntarily consented to Dailey’s

           entry into the residence to search for the lease, at which time Dailey lawfully observed

           the large number of firearms in plain view. Also, the Court rejects Bunch’s argument

           that the police knew that there was no evidence supporting a grow house in Bunch’s

           residence because the officers must have seen that these items were not present when

           conducting the protective sweep. There is no evidence that the officers did more than

           a cursory search for persons who could present a danger to them, and not a search for

           evidentiary items. T3:142 (cross-examination of Dailey) (“Q. In fact, when you went

           in, the kitchen cabinets were closed. You didn’t go in there, you just looked to make

           sure nobody was in there? A. No bodies, correct.”); T3:150 (re-direct examination)

           (“Q. Counsel asked you questions regarding during the protective sweep whether or not

           you saw certain items during the protective sweep, contraband items. Was the purpose

           of the sweep to find contraband or was the purpose of the sweep to find bodies that

           could be of potential danger to you? A. To find bodies.”)

                  Next, as a result of seeing the firearms cache in the master bedroom, there was

           probable cause to believe that those firearms (and others) would be located in the

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           residence. Although Bunch argues that law enforcement did not know whether he

           lawfully was entitled to possess the firearms, the affidavit provided that in Ponder’s

           training and experience, drug dealers keep weapons in their residences for protection

           against other drug dealers, home invaders, and law enforcement. Further, the affidavit

           set out why Ponder believed that Bunch was involved in the marijuana dealing

           business, and thus, that the possession of such a large amount of weapons was likely

           related to Bunch’s involvement in the drug business.31

                 Two legal principles support the warrant authorizing the search for and seizure

           of the firearms. First, the Eleventh Circuit has recognized that “[f]irearms are known

           ‘tools of the trade’ of narcotics dealing because of the dangers inherent in that line of

           work.” United States v. Thomas, 242 F.3d 1028 1032 n.5 (11th Cir. 2001) (citation

           omitted). Even assuming there was no independent probable cause for searching for

           and seizing firearms and ammunition, since firearms are known “tools of the trade” of


                 31
                        The facts set out in the affidavit were: (1) the discovery of paperwork at
           436 Hood Road showing that Bunch owned the property which contained a marijuana
           grow house, (2) he was arrested at his residence for manufacturing marijuana, (3) he
           rented 436 Hood Road to a person whose last name he did not know, (4) he had a
           relationship with McCullough (who the warrant explained was arrested for cultivating
           marijuana at 436 Hood Road), and (5) his relationship to Old South, including the fact
           that two other persons associated with that business were recently arrested for growing
           marijuana.

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           the drug business, United States v. Smith, 918 F.2d 1501, 1508-09 (11th Cir. 1991)

           (citing cases), any firearms or ammunition in the residence were therefore subject to

           seizure as evidence or contraband. Id. at 1509 (citing Arizona v. Hicks, 480 U.S. 321

           (1987)).

                 Second, Agent Ponder, an experienced narcotics investigator, advised that in his

           training and experience, drug traffickers commonly maintain firearms in their

           residences to protect themselves from rival drug dealers, home invaders, and police

           officers. Evidence that the suspect is in possession of contraband or evidence that is

           of the type that would normally expect to be hidden at a suspect’s residence will

           support a search. United States v. Anton, 546 F.3d 1355, 1358 (11th Cir. 2008) (citing

           United States v. Jenkins, 901 F.2d 1075, 1080 (11th Cir. 1990)); see also United States

           v. Bradley, 644 F.3d 1213, 1263-64 (11th Cir. 2011) (“We have previously found that

           a police officer’s expectation, based on prior experience and the specific circumstances

           of the alleged crime, that evidence is likely to be found in a suspect’s residence satisfies

           probable cause” and citing Jenkins, 901 F.2d at 1080-81). Of course, in this case, law

           enforcement did not have to predict the presence of firearms based on their training and

           experience, since because Dailey was lawfully on the premises, he saw the large

           number of firearms in Bunch’s bedroom.

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                 There also was probable cause to search for items that would support a

           grow-house operation. “Where a warrant to search a residence is sought, the affidavit

           must supply the authorizing magistrate with a reasonable basis for concluding that

           Defendant might keep evidence of his crimes at his home, i.e., a ‘safe yet accessible

           place.’ ” United States v. Kapordelis, 569 F.3d 1291, 1310 (11th Cir. 2009) (quoting

           United States v. Feliz, 182 F.3d 82, 87-88 (1st Cir.1999)). Therefore, the affidavit

           should establish (1) a connection between the defendant and the residence to be

           searched; and (2) a link between the residence and the criminal activity. Id. The

           Eleventh Circuit has stated that with regard to a suspect’s home:

                 The justification for allowing a search of a person’s residence when that
                 person is suspected of criminal activity is the common-sense realization
                 that one tends to conceal fruits and instrumentalities of a crime in a place
                 to which easy access may be had and in which privacy is nevertheless
                 maintained. In normal situations, few places are more convenient than
                 one’s residence for use in planning criminal activities and hiding fruits of
                 a crime.         United States v. Green, 634 F.2d 222, 226
                   th
                 (5 Cir. Unit B Jan. 1981). There need not be an allegation that the illegal
                 activity occurred at the location to be searched, for example the home, but
                 “the affidavit should establish a connection between the defendant and the
                 residence to be searched and a link between the residence and any
                 criminal activity.” United States v. Martin, 297 F.3d 1308, 1314 (11th Cir.
                 2002); see United States v. Anton, 546 F.3d 1355, 1358 (11th Cir. 2008)
                 (evidence of possession of contraband of type normally expected to be
                 hidden in residence will support search); United States v. Jenkins,
                 901 F.2d 1075, 1080-81 (11th Cir. 1990) (nexus between items to be
                 seized and defendant’s home can be established circumstantially where

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                 contraband is capable of being hidden in residence). But see Green,
                 634 F.2d at 226 (convenience of defendant’s residence “for use as a place
                 to plan and hide fruits of the crime [was] thus diminished, if not
                 eliminated” where alleged obstruction of justice, suborning of perjury, and
                 violations of citizen’s civil rights took place thousands of miles from
                 home in absence of other evidence linking residence and the criminal
                 activity).

           Kapordelis, 569 F.3d 1291, at 1310 (11th Cir. 2009); see also United States v. Tate,

           586 F.3d 936, 942-43 (11th Cir. 2009) (holding that “the nexus between the objects to

           be seized and the premises searched can be established from the particular

           circumstances involved and need not rest on direct observation”) (quoting Jenkins,

           901 F.2d at 1080-81).

                 Here, as noted, there was probable cause to believe that Bunch was a participant

           in a marijuana-cultivation operation. The large number of firearms located in his

           bedroom at least partially corroborated this conclusion, and thus Ponder’s belief that

           “[m]arijuana and documentation related to the financing of marijuana manufacturing”

           was stored at 1850 Flat Rock Road was reasonable.32 Thus, it was reasonable to

           conclude that the items listed in the warrant as items to be seized likewise would be

           located in the residence.

                 32
                        The Court also observes that the lease to 436 Hood Road could fall under
           Ponder’s statement that he believed that evidence relating to the financing of marijuana
           manufacturing was located at the residence. [Doc. 205-6 at 2].

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                                     ii.    Overbreadth

                 The Court also concludes that the warrant did not lack particularity. The Fourth

           Amendment provides that “no Warrants shall issue, but upon probable cause, supported

           by Oath or affirmation, and particularly describing the place to be searched, and the

           persons or things to be seized.” (Emphasis added). “This requirement is aimed at

           preventing ‘general, exploratory rummaging in a person’s belongings.’ ” United States

           v. Wuagneux, 683 F.2d 1343, 1348 (11th Cir, 1982) (quoting Coolidge v. New

           Hampshire, 403 U.S. 443, 467 (1971)). A warrant that fails to sufficiently particularize

           the place to be searched or the things to be seized is unconstitutionally overbroad, and

           the resulting general search is unconstitutional. Stanford v. Texas, 379 U.S. 476, 512

           (1965). In order to deter such warrants and searches, any evidence so seized must be

           excluded from the trial of the defendant. Stone v. Powell, 428 U.S. 465, 486 (1976);

           United States v. Travers, 233 F.3d 1327, 1329 (11th Cir. 2000). A description is

           sufficiently particular when it enables the searcher to reasonably ascertain and identify

           the things to be seized. United States v. Santarelli, 778 F.2d 609, 614 (11th Cir. 1985);

           Wuagneux, 683 F.2d at 1349; United States v. Cook, 657 F.2d 730, 733

           (5th Cir. Unit A 1981). A search warrant must be sufficiently precise as not to permit

           a general search, but the test is the reasonableness of the description. Elaborate

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           specificity is unnecessary.      See United States v. Strauss, 678 F.2d 886, 892

           (11th Cir. 1982); United States v. Osborne, 630 F.2d 374, 378 (5th Cir. 1980); see also

           United States v. Betancourt, 734 F.2d 750, 754-55 (11th Cir. 1984) (stating that a

           warrant’s description need not contain elaborate specificity; it is sufficiently particular

           when it enables the searcher to reasonably ascertain and identify the things authorized

           to be seized).

                 Search warrants are presumed to be validly issued. Franks v. Delaware,

           438 U.S. 154, 171 (1978). The burden of establishing that the warrant in this case was

           defective or executed improperly is upon the defendant. Id.; United States v. Van Horn,

           789 F.2d 1492, 1500 (11th Cir. 1986); United States v. Marx, 635 F.2d 436, 441

           (5th Cir. Unit B 1981); Osborne, 630 F.2d at 377.

                 The defendant claims that the overbreadth of the items to be seized violated the

           often-quoted admonition of the Supreme Court in Marron v. United States, 275 U.S.

           192, 196 (1927), that “as to what is to be taken, nothing is left to the discretion of the

           officer executing the warrant.” However, as the Eleventh Circuit has pointed out, “if

           this statement were construed as a literal command, no search would be possible.”

           Wuagneux, 683 F.2d at 1349 n.4 (citing Gurleski v. United States, 405 F.2d 253 (5th Cir.

           1968)). Instead, the test is whether the search was a general exploration or specifically

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           directed to the means and instrumentalities by which the crime charged had been

           committed. Harris v. United States, 331 U.S. 145, 153-54 (1947). The Eleventh

           Circuit has upheld warrants “ ‘when the description is as specific as the circumstances

           and the nature of the activity under investigation permit.’ ” Signature Pharmacy, Inc.

           v. Wright, 438 Fed. Appx. 741, 745 (11th Cir. July 19, 2011) (quoting United States v.

           Santarelli, 778 F.2d 609, 614 (11th Cir. 1985)). The court also has affirmed seizures

           under “warrants authorizing the seizure of . . . evidence” relating to the specific

           crime(s) charged),” observing that the “general description sufficed because the exact

           identity of the evidence to be seized could not have been known at the time the warrant

           issued and because the warrant limited the search to evidence of [the relevant

           crime(s)].” Santarelli, 778 F.2d at 614 (citing United States v. Dennis, 625 F.2d 782,

           792 (8th Cir. 1980)). Moreover, even if the Court finds that “the portion of the search

           warrant authorizing a search for items related to the sale and distribution of [marijuana]

           is constitutionally overbroad, suppression is not warranted.” United States v. Reno,

           196 F. Supp. 2d 1150, 1161 (D. Kan. 2002). Indeed, “[w]here a warrant contains both

           specific as well as unconstitutionally broad language, the broad portion may be

           redacted and the balance of the warrant considered valid.” Id. (citations omitted); see

           also United States v. Brown, 374 Fed. Appx. 927, 936-37 (11th Cir. Apr. 2, 2010)

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           (per curiam) (“The remedy for overbreadth in a warrant is severance . . . .”). “In such

           cases, only those items confiscated under the overbroad portion of the warrant are

           suppressed.” Reno, 196 F. Supp. 2d at 1161 (citation and internal marks omitted).

                  In this case, the warrant was specifically directed to the search for and seizure

           of items related to the violation of the Georgia Controlled substances Act,

           O.C.G.A. § 16-13-30, and any fruits of that crime. Bunch has not demonstrated what

           items were seized which were not specifically described in the warrant or which seized

           items demonstrate that the warrant was overly broad. Bunch has failed to carry his

           burden of showing the warrant was defectively overbroad.

                                     iii.   Good faith

                 Finally, because the Court concludes that the warrant was supported by probable

           cause and was not overly broad, the Court need not discuss in detail whether

           suppression of the seizures under the warrant are saved by the good-faith doctrine.

           Nevertheless, the undersigned briefly addresses the argument in case the District Judge

           concludes that the warrant was not supported by probable cause or was overbroad.

                 The Supreme Court has established a “good faith” exception to the exclusionary

           rule to prevent suppression of the items found pursuant to a search warrant. Under

           United States v. Leon, 468 U.S. 897, 913 (1984), the “good faith” exception to the rule

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           requiring the suppression of evidence for violations of the Fourth Amendment keeps

           evidence from being suppressed when law enforcement officers obtain evidence

           through objective good faith reliance on a facially valid warrant that is later found to

           lack probable cause. See Gonzalez, 969 F.2d at 1004 n.4. Nevertheless, “it is clear that

           in some circumstances the officer will have no reasonable grounds for believing that

           the warrant was properly issued.” Leon, 468 U.S. at 922-23. Leon’s good faith

           exception does not apply to the following situations: (1) where the magistrate in issuing

           a warrant was misled by information in an affidavit that the affiant knew was false or

           would have known was false except for his reckless disregard of the truth; (2) where

           the issuing magistrate wholly abandoned his judicial role; (3) where the affidavit

           supporting the warrant is so lacking in indicia of probable cause as to render official

           belief in its existence entirely unreasonable; and (4) where, depending upon the

           circumstances of the particular case, a warrant is so facially deficient—i.e., in failing

           to particularize the place to be searched or the things to be seized—that the executing

           officers cannot reasonably presume it to be valid.         United States v. Robinson,

           336 F.3d 1293, 1296 (11th Cir. 2003). Thus, under Leon’s third exception, the affidavit

           must not be a “bare-bones” statement containing nothing more than conclusory




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           allegations. See Leon, 468 U.S. at 915; United States v. Glinton, 154 F.3d 1245, 1257

           (11th Cir. 1998).

                   The Court has previously rejected Bunch’s arguments that the issuing magistrate

           was not neutral and detached, as well as his claim that he is entitled to redaction of false

           or recklessly untrue statements under Franks. See supra p. 81.

                   As for Leon’s third exception, the Court does not find that the affidavit was so

           lacking in probable cause as to render official belief in its existence entirely

           unreasonable. Robinson, 336 F.3d at 1296. The officers clearly had probable cause to

           believe that Bunch possessed firearms in his residence, which would have allowed a

           thorough search of the residence and the discovery of the other items located in plain

           view.

                   As for Leon’s fourth exception, the good-faith doctrine also excludes from trial

           items seized if the warrant was unreasonably overly broad. The good faith exception

           may be applied to a search conducted pursuant to an overly broad warrant. United

           States v. Travers, 233 F.3d 1327, 1330 (11th Cir. 2000); United States v. Accardo,

           749 F.2d 1477, 1481 (11th Cir. 1985). Officers do not act in objective good faith if the

           warrant is so overly broad on its face that the executing officers could not reasonably

           have presumed it to be valid. Id. Here, the warrant specifically described items to be

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           seized and the purpose allowing their seizure, see, e.g., “paperwork indicating

           occupancy, residency, rental and/or ownership of the premises at 1850 Flat Rock

           Road . . . .” The application of the good-faith exception to the exclusionary rule,

           therefore, is not precluded in this case by a warrant so overly broad that no reasonable

           officer could have relied upon it.

                 Conclusion

                 For all the above reasons, the undersigned RECOMMENDS that the following

           motions be DENIED:

                 (1)    Paul Bunch’s motions to suppress the search of 436 Hood Road, as

                        adopted by Ira Butler, [Docs. 146, 196];

                 (2)    Paul Bunch’s motion to suppress the search of 1850 Flat Rock Road,

                        [Doc. 147];

                 (3)    Paul Bunch’s motion to suppress statements, [Doc. 148]; and

                 (4)    Paul Bunch’s supplemental motion to suppress evidence and statements,

                        [Doc. 205].

                 (5)    Ira Butler’s motion to suppress evidence, [Doc. 130]; and

                 (6)    Ira Butler’s motion to suppress evidence from the December 8, 2010,

                        search of 436 Hood Road, [Docs. 213].

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                IT IS SO RECOMMENDED, this the 19th          day of December, 2012.




                                             ALAN J. BAVERMAN
                                             UNITED STATES MAGISTRATE JUDGE




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